                 EXHIBIT 1




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                                SETTLEMENT AGREEMENT

       Teresa Stringer, Karen Brooks, William Papania, Jayne Newton, Menachem Landa,

Andrea Eliason, Brandon Lane, Debbie O’Connor, Michelle Williams, and Wayne Balnicki

(“Plaintiffs”) and Nissan North America, Inc. (“NNA”) (collectively, Plaintiffs and NNA shall be

referred to as the “Parties”), by and through their counsel of record enter into this Settlement

Agreement, providing for settlement of all claims asserted or which could have been asserted in

the five putative class action lawsuits described below relating to Class Vehicles defined below,

pursuant to the terms and conditions set forth below, and subject to the approval of the Court,

described below.

       WHEREAS, Plaintiffs collectively are parties in the following five putative class action

lawsuits (the “Lawsuits”) alleging that certain Nissan vehicles contain a defect in the continuously

variable transmission (“CVT”) which can lead to poor transmission performance or failure, and

asserting various breach of warranty, statutory, and common law theories of liability:

      Stringer, et al. v. Nissan of North America, Inc., et al., Case No. 3:21-cv-00099, pending
       in the United States District Court for the Middle District of Tennessee (“Stringer”);

      Newton, et al. v. Nissan of North America, Inc., et al., Case No. 3:21-cv-00169, pending in
       the United States District Court for the Middle District of Tennessee (“Newton”);

      Landa v. Nissan of North America, Inc., et al., Case No. 3:21-cv-00232, pending in the
       United States District Court for the Middle District of Tennessee (“Landa”);

      Lane, et al. v. Nissan of North America, Inc., et al., Case No. 3:21-cv-00150, pending in
       the United States District Court for the Middle District of Tennessee (“Lane”); and

      Eliason, et al. v. Nissan of North America, Inc., et al., Case No. 3:21-cv-00263, pending in
       the United States District Court for the Middle District of Tennessee (“Eliason”).

       WHEREAS, NNA has denied and continues to deny all of the Plaintiffs’ claims related to

the CVT in their vehicles, denies all allegations of wrongdoing, fault, liability, or damage of any




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kind to Plaintiffs or the Settlement Class (as defined below), denies that it acted improperly or

wrongfully in any way, and believes that this litigation is without merit;

        WHEREAS, the Parties to this Settlement Agreement conducted extensive investigation

and discovery into the claims and defenses in this case;

        WHEREAS, while Plaintiffs and their counsel believe that the claims asserted in the

Lawsuits have merit, and that such claims could have been successful at trial, they recognize the

costs and risks of prosecuting this litigation and believe that it is in the interest of all members of

the Settlement Class to resolve finally and completely the pending and potential claims of the

Plaintiffs and the Settlement Class against NNA on the terms as agreed;

        WHEREAS, although NNA believes the Lawsuits have no merit, it has concluded that

settlement is desirable as a further commitment to its customers, to ensure the satisfaction of its

customers, to preserve and enhance goodwill with its customers, including the Plaintiffs, and to

end further litigation of the claims in the Lawsuits related to Class Vehicles, which could be

protracted, burdensome and expensive for both Plaintiffs and NNA;

        WHEREAS, Plaintiffs’ counsel and NNA’s counsel conducted arm’s length settlement

negotiations via mediation and further telephone negotiations;

        WHEREAS, NNA has agreed to class treatment of the claims alleged in Stringer, as

amended, solely for the purpose of effectuating a compromise and settlement of those claims on a

class basis, and denies that any of the Lawsuits or Stringer, as amended, could properly proceed

on a class basis for purposes of litigation or trial.

        NOW, THEREFORE, the undersigned Parties stipulate and agree, subject to the approval

of the Court, that all claims of Plaintiffs and Class Members against NNA shall be finally settled,

discharged, and resolved on the terms and conditions as set forth below.




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                                         DEFINITIONS

       As used in this Settlement Agreement, the following terms shall have the defined meanings

set forth below. Where appropriate, terms used in the singular shall be deemed to include the

plural and vice versa.

       1.      “Appropriate Contemporaneous Documentation of Nissan Diagnosis” means the

original, or a true and correct copy, of written documentation created by an authorized Nissan or

Infiniti dealer, at or near the time of the Nissan or Infiniti dealer’s diagnosis and recommendation,

within the Warranty Extension Period, establishing that such diagnosis and recommendation

occurred on a specific date and at a specific mileage.

       2.      “Appropriate Contemporaneous Documentation of Qualifying Repair” means the

original, or a true and correct copy, of written documentation created by an authorized Nissan or

Infiniti dealer, or other non-Nissan/Infiniti automotive repair facility at or near the time of a

Qualifying Repair and as part of the same transaction, establishing that a Class Vehicle had a

Qualifying Repair on a specific date and at a specific mileage.

       3.      “Authorized Reimbursement Participant” means any Class Member who has

satisfied the Criteria for Reimbursement and, if the Class Member is a former owner who also

meets the Criteria for a Voucher for the same Class Vehicle, has elected to receive reimbursement

of a Qualifying Repair instead of a Voucher. Status or rights as an Authorized Reimbursement

Participant are not transferable.

       4.      “Authorized Voucher Participant” means any Class Member who has satisfied the

Criteria for a Voucher and, if the Class Member also meets the Criteria for Reimbursement for the

same Class Vehicle, has not elected to be an Authorized Reimbursement Participant. Status or

rights as an Authorized Voucher Participant are not transferable.




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         5.    “Attorneys’ Fees and Expenses” means the amounts approved by the Court for

attorneys’ fees, costs, and litigation expenses, including fees and expenses of experts or other

consultants, pursuant to an application submitted by Co-Lead Class Counsel under Paragraph 113

below.

         6.    “Claim Form” means the claim form, substantially in the form set forth in Exhibit

“B” to this Settlement Agreement, which must be timely completed and submitted by a Class

Member in order to meet, in part, the Criteria for Reimbursement under the terms of this Settlement

Agreement.

         7.    “Claims Period” means the time within which a Class Member must submit a Claim

Form. The Claims Period shall commence on the Notice Date and end at a date certain ninety (90)

days after the Notice Date or thirty (30) days after a Qualifying Repair, whichever is later. For

Class Members who are sent a re-mailed Summary Notice pursuant to Paragraph 70, the Settlement

Administrator will accept and consider Claim Forms for that Class Member received within ninety

(90) days after the date of remailing of the Summary Notice.

         8.    “Co-Lead Class Counsel” means Mark S. Greenstone, Greenstone Law APC, Marc

L. Godino, Glancy Prongay & Murray LLP, and J. Gerard Stranch, IV, Bransetter, Stranch &

Jennings PLLC.

         9.    “Class Members” means all persons who are members of the Settlement Class,

except those who validly and timely request exclusion from the Settlement Class pursuant to

Paragraphs 95 and 96.

         10.   “Class Vehicles” means 2014-2018 model year Nissan Rogue vehicles equipped

with a CVT (“Rogue Class Vehicles”) and 2015-2018 model year Nissan Pathfinder and 2015-




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2018 model year Infiniti QX60 vehicles equipped with a CVT (“Pathfinder/QX60 Class

Vehicles”).

       11.     “Court” means the United States District Court for the Middle District of Tennessee

in which the Stringer case is pending.

       12.     “Criteria for a Voucher” means the criteria that a Class Member must satisfy in

order to be eligible to receive a Voucher pursuant to the terms of this Settlement Agreement, which

are: (1) the Class Member must be a current or former owner of a Class Vehicle as of the Notice

Date; and (2) NNA warranty records reflect that, during the time that the Class Member owned

the Class Vehicle, the Class Vehicle had two or more replacements or repairs to the transmission

assembly (including torque converter and/or valve body) and/or Automatic Transmission Control

Unit (“ATCU”). Prior software updates and/or reprogramming do not count as a prior repair.

       13.     “Criteria for Reimbursement” means the criteria that a Class Member must satisfy

in order to be eligible to receive a reimbursement for a Qualifying Repair pursuant to the terms of

this Settlement Agreement, which are: (1) the Class Member must be a current or former owner or

lessee of a Class Vehicle as of the Notice Date; (2) the Class Member actually paid for a Qualifying

Repair; and (3) the Class Member must submit to the Settlement Administrator within the

applicable Claims Period (a) a properly completed Claim Form with a proper VIN; (b) an

affirmation under penalty of perjury that the Class Member (i) is a current or former owner or

lessee of the Class Vehicle identified on the Claim Form and (ii) is not seeking reimbursement for

any portion of the Qualifying Repairs previously paid for by NNA or by an extended warranty or

service contract provider; and (c) all necessary supporting documentation which is:

               A.      Appropriate Contemporaneous Documentation of Qualifying Repair
                       establishing that (i) a Qualifying Repair was made; (ii) the Class Member
                       paid for the Qualifying Repair; (iii) the amount paid by the Class Member




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                       for the Qualifying Repair; (iv) the vehicle’s mileage at the time of the
                       Qualifying Repair; and (v) the date of the Qualifying Repair.

               B.      Additionally, for a Qualifying Repair made after expiration of the Warranty
                       Extension but within the time frame described in Paragraph 57, Appropriate
                       Contemporaneous Documentation of Nissan Diagnosis establishing that (i)
                       an authorized Nissan or Infiniti dealer, diagnosed and recommended a
                       repair to the transmission assembly or ATCU; (ii) the vehicle’s mileage at
                       the time of the diagnosis and recommendation was within the Warranty
                       Extension Period; and (iii) the date on which the diagnosis and
                       recommendation was made was within the Warranty Extension Period.

       14.     “Effective Date of Settlement” means sixty-one (61) days after the date when the

Final Order and Judgment in the Stringer case is entered if no appeal is timely filed and no motion

to extend the time for filing an appeal has been filed. If a motion to extend the time to file an

appeal is filed within sixty (60) days after the Final Order and Judgment in the Stringer case is

entered and the motion is subsequently denied, then the Effective Date of Settlement is the date on

which the motion to extend is denied if no other appeals have been filed. If there is an appeal, the

Effective Date of Settlement shall be the date on which (a) all such appeals have been dismissed;

or (b) the appropriate Court of Appeals has entered a final judgment affirming the Final Order and

Judgment of the Court, which (i) is no longer subject to any further appellate challenge, or (ii) has

been affirmed by the United States Supreme Court, whichever is earlier.

       15.      “Event of Termination” means any event terminating the Settlement Agreement,

including but not limited to: (1) mutual written agreement of the parties to terminate the Settlement

Agreement; (2) the Court denying any motion for preliminary or final approval of the Settlement;

(3) any reviewing Court reversing the Court’s orders of preliminary or final approval of the

Settlement; or (4) any other event set forth in this Settlement Agreement according to which the

Settlement Agreement would be terminated.




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       16.     “Excluded Claims” means (1) claims for personal injury, wrongful death, or

physical damage to property other than a Class Vehicle or its component parts and (2) Future

Transmission Claims.

       17.     “Executive Committee Counsel” means Stephen R. Basser, Barrack, Rodos &

Bacine, Lawrence Deutsch, Berger Montague PC, and Ryan McDevitt, Keller Rohrback L.L.P.

       18.     “Expedited Resolution Process” means the required process for addressing any

Future Transmission Claims, as well as any claims or disputes relating to or involving, in whole

or in part, allegations related to the transmission in a Class Vehicle, which process is described in

more detail in Exhibit “A” to this Settlement Agreement. No Class Member may participate as a

class representative or class member in any class claim against NNA or any of the Released Parties

related to claims covered by the Expedited Resolution Process.

       19.     “Fairness Hearing” means the final approval hearing(s) scheduled by the Court to

determine whether to approve this Settlement, finally certify the Settlement Class, and to award

Attorneys’ Fees and Expenses.

       20.     “Final Order and Judgment” means the order and final judgment of the Court

dismissing the Stringer case with prejudice and approving this Settlement, substantially in the form

of Exhibit “F” to this Settlement Agreement.

       21.     “Future Transmission Claims” means claims for breach of the New Vehicle Limited

Warranty, as modified by the Warranty Extension, related to transmission design, manufacturing

or performance based solely on events that occur after the Notice Date. No such claim will be

deemed to have accrued after the Notice Date, and a Class Member shall not have standing to

assert any claim against NNA for breach of the New Vehicle Limited Warranty as modified by the

Warranty Extension, unless the Class Member, after the Notice Date, takes his or her Class Vehicle




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to an authorized Nissan or Infiniti dealer, as appropriate for the make of Class Vehicle involved,

and requests warranty coverage for a claimed defect in the transmission under the New Vehicle

Limited Warranty and NNA fails to comply with the terms of the New Vehicle Limited Warranty.

A claim based, in whole or in part, on any transmission performance problem, repair or repair

attempt, or any other conduct or event before the Notice Date is not a Future Transmission Claim

but is a Released Claim. Future Transmission Claims must be based entirely upon transmission

performance issues, repairs or repair attempts, or any other conduct or events that occur after the

Notice Date. However, the fact that a Class Member experienced a transmission problem before

the Notice Date shall not preclude such Class Member from making a Future Transmission Claim

based solely on events that occur after the Notice Date.

       22.     “Lawsuits” means the five proceedings captioned Stringer, et al. v. Nissan of North

America, Inc., et al., Case No. 3:21-cv-00099, pending in the United States District Court for the

Middle District of Tennessee; Newton, et al. v. Nissan of North America, Inc., et al., Case No.

3:21-cv-00169, pending in the United States District Court for the Middle District of Tennessee;

Landa v. Nissan of North America, Inc., et al., Case No. 3:21-cv-00232, pending in the United

States District Court for the Middle District of Tennessee; Lane, et al. v. Nissan of North America,

Inc., et al., Case No. 3:21-cv-00150, pending in the United States District Court for the Middle

District of Tennessee; and Eliason, et al. v. Nissan of North America, Inc., et al., Case No. 3:21-

cv-00263, pending in the United States District Court for the Middle District of Tennessee.

       23.     “Long Form Notice” means the Court-approved long form of notice of this

Settlement to be made available to the Settlement Class on the Settlement Website, and by the

Settlement Administrator upon request, substantially in the form attached hereto as Exhibit “C.”

       24.     “NNA’s Counsel” means E. Paul Cauley, Jr., Faegre Drinker Biddle & Reath, LLP.




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       25.     “NNA” means Nissan North America, Inc.

       26.     “New Vehicle Limited Warranty” means the written limited warranty described in

the applicable 2014-2018 model year Nissan Rogue Warranty Information Booklet, 2015-2018

model year Nissan Pathfinder Warranty Information Booklet, 2015-2018 model year Infiniti QX60

Warranty Information Booklet and all of their terms and conditions, including applicable

limitations and exclusions.

       27.     “Notice” means the Court-approved form of notice of this Settlement to the

Settlement Class, including the Summary Notice, Long Form Notice and other measures of

providing notification to the Settlement Class of the Settlement, its terms and the Class Members’

rights and obligations.

       28.     “Notice and Settlement Administration Expenses” means all reasonable costs and

expenses incurred in connection with preparing, printing, and mailing the Summary Notice and

any costs incurred in administering the settlement.

       29.     “Notice Date” means the date on which the Settlement Administrator completes

initial mailing of the Summary Notice or other such Court required Notice to the Settlement Class,

which the Parties and Settlement Administrator will use best efforts to occur no later than one

hundred and twenty (120) days from the Court’s order granting preliminary approval of the

Settlement.

       30.     “Other Plaintiffs’ Counsel” means Caroline Ramsey Taylor, Whitfield Bryson &

Mason, LLP and John G. Emerson, Emerson Firm, PLLC.

       31.     “Parties” means Plaintiffs and NNA.




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       32.     “Plaintiffs” means Teresa Stringer, Karen Brooks, William Papania, Jayne Newton,

Menachem Landa, Andrea Eliason, Brandon Lane, Debbie O’Connor, Michelle Williams, and

Wayne Balnicki.

       33.      “Preliminary Approval Order” means the order of the Court, substantially in the

form of Exhibit “E,” preliminarily approving the Settlement, as described in Paragraph 47.

       34.     “Qualifying Repair” means the portion of the cost for parts and labor actually paid

by a Class Member for replacement of or repair to the transmission assembly (including valve

body and torque converter) and/or ATCU by an authorized Nissan dealer or other non-

Nissan/Infiniti automotive repair facility within the applicable time and mileage limits specified

by Paragraphs 56 and 57.

       35.     “Released Claims” means and includes any and all claims, demands, rights,

damages, obligations, suits, debts, liens, contracts, agreements, and causes of action of every

nature and description whatsoever, ascertained or unascertained, suspected or unsuspected,

accrued or unaccrued, existing or claiming to exist, including those unknown, both at law and

equity which have been brought, which might have been brought, and which might be brought in

the future upon the happening of certain events, against the Released Parties, or any of them, based

upon or in any way related to transmission design, manufacturing, performance, or repair of Class

Vehicles, including but not limited to all claims asserted in the Lawsuits, whether based upon

breach of contract, violation of a duty sounding in tort, violation of any state or federal statute or

regulation, violation of any state consumer protection statute or regulation (including any lemon

law statute or regulation), fraud, unjust enrichment, money had and received, restitution, equitable

relief, punitive or exemplary damages and civil penalties and fines or any other claims whatsoever

under federal or state law. The “Released Claims” shall explicitly extend to and include any claim




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for attorneys’ fees, expenses, costs, and catalyst fees under any state’s law or under federal law.

The “Released Claims” do not include “Excluded Claims” defined above.

        36.     “Released Parties” means NNA, Nissan Motor Co., Ltd., JATCO, Ltd., and, for

each of such corporations, all of their past and present officers, directors, agents, designees,

servants, sureties, attorneys, employees, parents, associates, shareholders, general or limited

partners or partnerships, subsidiaries, divisions, affiliates, insurers, franchises, suppliers, dealers,

and all of their predecessors or successors in interest, assigns, or legal representatives, as well as

any other person, company, or entity in the chain of distribution of a Class Vehicle, transmission

components of such Class Vehicle, or repair of the transmission in such Class Vehicle.

        37.     “Settlement” means the agreement between the Parties, as embodied in the

Settlement Agreement, including all exhibits attached to the Settlement Agreement.

        38.     “Settlement Class” means, collectively, the following two subclasses: Subclass A

comprised of all current and former owners and lessees of 2014-2018 model year Nissan Rogue

vehicles equipped with a CVT who purchased or leased the vehicle in the United States or its

Territories. Subclass B comprised of current and former owners and lessees of 2015-2018 model

year Nissan Pathfinder and 2015-2018 model year Infiniti QX60 vehicles equipped with a CVT

who purchased or leased the vehicle in the United States or its Territories. Excluded from the

Settlement Class are: (1) NNA, any entity or division in which NNA has a controlling interest,

its/their legal representatives, officers, directors, assigns and successors; (2) any judge to whom

this case is assigned and the judge’s clerks and any member of the judge’s immediate family, and

the Sixth Circuit Court of Appeals; and (3) government purchasers and lessees.

        39.     “Settling Parties” includes all Class Members and NNA.




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        40.     “Settlement Administrator” means Kurtzman Carson Consultants, LLC, or such

other third party administrator to which the parties shall mutually agree, to handle the notice

program and claims administration process.

        41.     “Summary Notice” means the Court-approved form of notice of this Settlement to

the Settlement Class, consisting of a notice to be sent to the Settlement Class, substantially in the

form of Exhibit “D” to the Settlement Agreement. The Summary Notice shall state the Claims

Deadline.

        42.     “Voucher” is a certificate in the amount as described in Paragraph 59 that may be

used by an Authorized Voucher Participant towards the purchase or lease of a single new Nissan

or Infiniti vehicle at an authorized Nissan or Infiniti dealer within nine (9) months of the Effective

Date of Settlement. The Voucher is not transferable. The Voucher may be used in combination

with other types of valid discount offers, rebates, and incentives.

        43.     “Warranty Extension” means extension of the time and mileage durational limits

applicable to powertrain coverage under the applicable New Vehicle Limited Warranty, but only

as to the transmission assembly (including the valve body and torque converter) and ATCU on

Class Vehicles, by twenty-four (24) months or twenty-four thousand (24,000) miles, whichever

occurs first.

        44.     “Warranty Extension Period” means that period of twenty-four (24) months or

twenty-four thousand (24,000) miles after expiration of the original powertrain coverage in the

New Vehicle Limited Warranty applicable to the make of Class Vehicle.

                                      REQUIRED EVENTS

        Promptly after the execution of this Settlement Agreement:

        45.     Plaintiffs will take no further action in the Newton, Landa, Eliason and Lane cases

pending preliminary and final approval of the Settlement other than to, if necessary, inform the


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court of the pending settlement on behalf of a nationwide class for which approval will be sought

that would include resolution of their cases, and may seek a formal stay or similar administrative

relief if necessary or required by the court.

       46.     Co-Lead Class Counsel shall take all necessary steps to obtain preliminary approval

of the Settlement in the Stringer case and, having done so, shall take all necessary steps consistent

with this Settlement Agreement to obtain final approval of the Settlement and the Final Order and

Judgment.

       47.     Co-Lead Class Counsel shall make best efforts to file a Motion for Preliminary

Approval of this Settlement Agreement in Stringer by August 23, 2021. In their Motion for

Preliminary Approval, Plaintiffs will submit the Settlement Agreement to the Court for

Preliminary Approval and shall move for one or more orders in substantially the same form as

Exhibit “E” (the Preliminary Approval Order), which by their terms shall, among other things:

       A.      Preliminarily approve the terms of the Settlement;

       B.      Conditionally certify the Settlement Class for Settlement purposes only;

       C.      Approve the Summary Notice and Long Form Notice to be given to the Settlement
               Class advising them of the Settlement and of the Fairness Hearing to be held to
               determine the fairness, reasonableness and adequacy of the Settlement; and

       D.      Schedule a hearing to review objections, if any, comments, and other issues
               regarding the Settlement and to consider the fairness, reasonableness and adequacy
               of the Settlement and the application for an award of Attorneys’ Fees and Expenses,
               and to consider whether the Court should issue a Final Order and Judgment (in
               substantially the form attached as Exhibit “F”) approving the Settlement,
               dismissing all claims in Stringer with prejudice as to NNA, and ruling upon the
               fairness and reasonableness of the Attorneys’ Fees and Expenses.

       48.     The Parties agree that certification will be sought under Federal Rule of Civil

Procedure 23(b)(3) on an opt-out basis.

       49.     At least three (3) days prior to the filing of the Motion for Preliminary Approval,

Co-Lead Class Counsel will give NNA an opportunity to review and comment on the draft Motion


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for Preliminary Approval. NNA will not oppose the preliminary approval of the Settlement but

NNA may, at its discretion, submit such briefing as it deems necessary to support the Motion for

Preliminary Approval, clarify its positions, and otherwise protect its interests. Such briefing by

NNA will be due no later than seven (7) days before the Preliminary Approval Hearing, and NNA

shall, at least three (3) days prior the filing of any such brief, give Co-Lead Class Counsel the

opportunity to review and comment on the draft brief.

       50.     No later than forty-six (46) days after the Notice Date, Co-Lead Class Counsel will

file its briefing regarding Final Approval of the Settlement and Certification of the Settlement

Class, and Award of Attorneys’ Fees, Costs, Expenses, and Representative Service Awards (the

“Briefing on Final Approval, Attorneys’ Fees, and Expenses”) requesting that the Court enter a

Final Order and Judgment, in substantially the same form attached to this Settlement Agreement

as Exhibit “F,” which will, among other things, dismiss the Stringer case with prejudice as to

NNA, subject to the continuing jurisdiction of the Court as set forth in Paragraph 106, approve the

Settlement, certify the Settlement Class and render an award of Attorneys’ Fees and Expenses and

incentive awards. At least three (3) days prior to the filing of the Motion for Final Approval, Co-

Lead Class Counsel will give NNA an opportunity to review and comment on the draft Motion for

Final Approval. NNA will not oppose Final Approval of the Settlement but NNA may, at its

discretion, submit such briefing as it deems necessary to support the Motion for Final Approval,

clarify its positions, and otherwise protect its interests. Such briefing by NNA will be due no later

than ten (10) days before the date set in the Notice for the Fairness Hearing, and NNA shall, at

least three (3) days prior the filing of any such brief, give Co-Lead Class Counsel the opportunity

to review and comment on the draft brief. Co-Lead Class Counsel and NNA’s Counsel shall also




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be entitled to file responses to any Objections that have been filed, which responses shall be filed

fourteen (14) days prior to the date set in the Notice for the Fairness Hearing.

       51.      Five (5) days after the Effective Date of Settlement, Plaintiffs in the Lane, Newton,

Landa and Eliason cases will take all further necessary actions to have those cases and any

associated appeals dismissed with prejudice.

       52.      The   Parties   acknowledge      that   prompt    approval,   consummation,      and

implementation of the Settlement set forth in this Settlement Agreement are essential. The Parties

shall cooperate with each other in good faith to carry out the purposes of and effectuate this

Settlement Agreement, shall promptly perform their respective obligations hereunder, and shall

promptly take all actions and execute and deliver all additional documents and all other materials

and/or information reasonably necessary or appropriate to carry out the terms of this Settlement

Agreement and the transactions contemplated hereby.

       53.      In the event that the Court fails to grant Preliminary Approval or fails to issue a

Final Order and Judgment, Co-Lead Class Counsel and NNA’s Counsel agree to use all reasonable

efforts, consistent with this Settlement Agreement, to address and resolve any concerns identified

by the Court.

                                RELIEF TO CLASS MEMBERS

       54.      NNA agrees to extend the time and mileage durational limits for powertrain

coverage under the applicable New Vehicle Limited Warranty for Class Vehicles to the extent it

applies to the transmission assembly (including the valve body and torque converter) and ATCU

by twenty-four (24) months or twenty-four thousand (24,000) miles, whichever occurs first.

       55.      The Warranty Extension will be subject to the terms and conditions of the original

New Vehicle Limited Warranty applicable to the Class Vehicles, which excludes coverage for,




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among other things, damage resulting from alteration, tampering, improper repair, misuse,

environmental conditions, and lack of or improper maintenance.

       56.     Reimbursement for all Class Members who are Authorized Reimbursement

Participants for Qualifying Repairs made after expiration of the powertrain coverage under the

New Vehicle Limited Warranty but within the durational limits of the Warranty Extension Period

as described in Paragraph 44 shall be made as follows:

               A.     For Qualifying Repairs on Class Vehicles that were performed by an
                      authorized Nissan or Infiniti dealer, reimbursement of 100% of the parts
                      and labor actually paid by the Class Member.

               B.     For Qualifying Repairs on Class Vehicles that were performed by a non-
                      Nissan/Infiniti automotive repair facility, reimbursement up to a cap of
                      $5,000 of the parts and labor actually paid by the Class Member.

       57.     Class Members who present Appropriate Contemporaneous Documentation of

Nissan Diagnosis to the Settlement Administrator establishing that a Nissan or Infiniti dealer,

within the Warranty Extension Period, diagnosed and recommended a repair to the transmission

assembly or ATCU, will be entitled to submit a claim for reimbursement for the Qualifying Repair

diagnosed and recommended by the Nissan or Infiniti Dealer during the Warranty Extension

Period under Paragraph 78, subject to the limitations in Paragraph 56, but only if the Class Member

obtains the recommended transmission repair prior to the Class Vehicle exceeding 95,000 miles

or within ninety (90) days of the Notice Date, whichever occurs first.

       58.     The mileage on the Class Vehicle as it relates to the Criteria for Reimbursement

shall be determined as of the date of the Qualifying Repair as reflected in the Appropriate

Contemporaneous Documentation of Qualifying Repair. A Class Member may make only a single

claim for reimbursement per VIN, but the claim for reimbursement may include both diagnosis

and repair costs, if applicable, and may include multiple Qualifying Repairs.




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       59.     For current and former owners of Class Vehicles who meet the Criteria for a

Voucher, NNA agrees to provide a Voucher in the amount of $1,000 for either a purchase or lease

of a single new Nissan or Infiniti vehicle so long as the Authorized Voucher Participant purchases

or leases a new Nissan or Infiniti vehicle within nine (9) months of the Effective Date of

Settlement. The Voucher may be used in combination with other types of valid discount offers,

rebates, and incentives.

       60.     Current and former owners of Class Vehicles will be determined by the Settlement

Administrator based on vehicle registration data obtained in the manner provided in Paragraph 68.

That list of current and former owners of Class Vehicles and associated VINs will be checked

against a list of VINs provided by NNA from a search of its warranty records for Class Vehicles

that had two or more replacements or repairs to the transmission assembly (including torque

converter and/or valve body) and/or ATCU. Prior software updates and/or reprogramming do not

count as a prior repair. Within twenty-eight (28) days after the Effective Date of Settlement, the

Settlement Administrator will send current and former owners, determined through this process to

meet the Criteria for a Voucher, a notice advising them that they are an Authorized Voucher

Participant.

       61.     No single Class Member will be entitled to more than an aggregate of five Vouchers

regardless of the total number of eligible vehicles purchased by that Class Member.

       62.     If a current or former owner of a Class Vehicle is also eligible for reimbursement

of a Qualifying Repair on the same vehicle, the current or former owner must elect either the

Voucher or reimbursement, but may not receive both benefits.

                           NOTICE TO THE SETTLEMENT CLASS

       63.     The Settlement Administrator shall be responsible for implementing Notice to the

Settlement Class in the manner described in this Settlement Agreement.


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       64.    Dissemination of Notice to the Settlement Class shall be accomplished as described

in Paragraphs 69-71. The Settlement Administrator shall be responsible for: (i) mailing of the

Summary Notice, and (ii) responding to requests for the Notice. All Notice and Settlement

Administration Expenses shall be paid by NNA.

       65.    The Settlement Administrator shall sign a confidentiality agreement in a form

agreed to by Co-Lead Class Counsel and NNA’s Counsel, which shall provide that the names,

addresses and other information about specific Class Members provided by either Co-Lead Class

Counsel, NNA or by individual Class Members, shall all be treated as confidential and shall be

used by the Settlement Administrator only as required by this Settlement Agreement.

       66.    The Parties agree the names and addresses, or other identifying information, of

Class Members shall not be provided to Co-Lead Class Counsel by NNA, NNA’s Counsel, or the

Settlement Administrator, except that, in order to allow Co-Lead Class Counsel to respond

effectively and efficiently to inquiries to Co-Lead Class Counsel from specific Class Members,

the Settlement Administrator shall upon request provide Co-Lead Class Counsel with the Claim

Form submitted by the inquiring Class Member, supporting documentation submitted by the

inquiring Class Member, and communications between the Settlement Administrator and the

inquiring Class Member.

       67.    Notwithstanding Paragraph 66, information concerning the claims for

reimbursement of a Qualifying Repair made pursuant to Paragraph 78 may be provided by the

Settlement Administrator to Co-Lead Class Counsel or NNA’s Counsel to the extent it is necessary

and as provided in Paragraphs 85 and 86.

       68.    NNA will provide the Settlement Administrator with Vehicle Identification

Number (VIN) information for all Class Vehicles. Using this VIN information, the Settlement




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Administrator will obtain address data for the Class Members from a qualified third-party, such as

IHS/R.L. Polk, that maintains databases related to the automobile industry and which specializes

in obtaining such information from, inter alia, the Department of Motor Vehicles of all fifty (50)

States in the United States and its territories, including Puerto Rico. The Settlement Administrator

will review the address data provided by the third-party vendor, check addresses for validity,

eliminate duplications and process the addresses through the National Change of Address database

for the purpose of updating the addresses. The Parties anticipate that current residential addresses

will be available for a very high percentage of Class Members, such that a single direct mail short

form notice approved by the Court will satisfy all applicable due process requirements for notice

to the Class Members.

       69.     The Settlement Administrator shall mail a direct mail post card with the Summary

Notice, postage prepaid, via the United States Postal Service to the Settlement Class. The Notice

shall be substantially in the same form as the exemplar submitted as Exhibit “D” to this Settlement

Agreement, as approved by the Court. The Settlement Administrator shall also cause any other

elements of Notice (including activation of the Settlement Website) to take place on or about the

Notice Date.

       70.     Prior to mailing the Summary Notice, the Settlement Administrator shall utilize the

United States Postal Service National Change of Address database to obtain updated addresses

where available. In the case of any returned undeliverable mail, the Settlement Administrator shall

forward any Summary Notice returned to it with a forwarding address, and otherwise perform skip

trace address searches in an attempt to obtain an updated address and then re-mail the Summary

Notice. Only one attempt shall be made to obtain a new address and re-mail. If the Summary

Notice is undeliverable a second time, no further efforts shall be made.           The Settlement




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Administrator shall process undeliverable mail in the above manner on an ongoing basis in a timely

fashion.

       71.     The Settlement Administrator shall create and maintain a dedicated mutually

approved website for information about this Settlement (“Settlement Website”), on which the

Settlement Administrator will make available for download in portable document format (1) the

Long Form Notice as approved by the Court and (2) other documents and pleadings filed by the

Parties in connection with the Settlement. The Settlement Administrator will also provide a link

to the Settlement Website in the Summary Notice, maintain a toll-free number and an email address

for Class Members to seek answers to questions about the Settlement, and provide a reference to

the toll-free number and email address in the Summary Notice. In addition, NNA may update

www.NissanAssist.com to inform owners of the warranty extension.

       72.     The Settlement Administrator, as directed by NNA, shall have the responsibility to

prepare and provide the notices required by the Class Action Fairness Act of 2005, Pub. L. 109-2

(2005), including but not limited to, the notices to the United States Department of Justice and to

the Attorneys General of all States in which Class Members reside, as specified in 28 U.S.C. §

1715. Co-Lead Class Counsel and NNA’s Counsel shall cooperate in the drafting of such notices,

and Co-Lead Class Counsel shall provide to NNA’s Counsel, upon request, any information in its

possession necessary for the preparation of these notices.

       73.     No later than forty-two (42) days prior to the date of the Fairness Hearing in the

Notice, the Settlement Administrator shall provide a declaration to the Court, with a copy to Co-

Lead Class Counsel and NNA’s Counsel, attesting that Notice was disseminated in a manner

consistent with the terms of this Settlement Agreement, or those otherwise required by the Court.




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The Settlement Administrator agrees to provide one supplemental declaration, if requested by the

Parties, prior to the Fairness Hearing.

       74.     The Notice described in Paragraph 69, the Settlement Website contemplated by

Paragraph 71, and the permitted response to inquiries in Paragraph 71, will be the only type of

notice to the public or Class Members about the Settlement, and Plaintiffs may not advertise or

publicize the Settlement by any other means, with the exception that Co-Lead Class Counsel will

be permitted to put notification on their firms’ websites (a) advising of the settlement and (b)

directing potential class members to the Settlement Website.

       75.     Counsel for Plaintiffs and counsel for NNA will be permitted to respond to inquiries

from reporters regarding this matter but only with a jointly prepared or coordinated response.

Counsel may not make statements suggesting that the Lawsuits caused or forced the Settlement,

or make any other similar statements suggesting that the Settlement indicates that the Lawsuits

had merit or did not have merit, or that the Settlement is an admission or indication of liability or

a concession of lack of merit. In no event may Plaintiffs, their counsel, or their agents or

representatives initiate communication with reporters or any form of print, digital, social or

broadcast media regarding the Settlement or Lawsuits. This provision does not govern motions

and supporting memoranda filed in Case No. 3:21-cv-00099 related to preliminary and final

approval of the Settlement as contemplated by Paragraphs 47-50.

       76.     Nothing in this Settlement Agreement shall prevent (1) NNA from communicating

with its dealers and/or customers (including owners or lessees of Class Vehicles) at any time for

purposes of customer satisfaction, as NNA generally communicates with its dealers and/or

owners/lessees in the ordinary course of its business, or (2) Co-Lead Class Counsel from

responding to inquiries from Class Members after preliminary approval of the Settlement.




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       77.     Nothing in this Settlement Agreement shall prevent NNA from communicating,

and it is contemplated that NNA may communicate, after preliminary approval of the Settlement,

with its dealers and customers (including owners and lessees of Class Vehicles) advising them of

the Warranty Extension, and if it does so, NNA may indicate the Warranty Extension is being

provided as a customer satisfaction effort to address customer concerns, including those expressed

by the named Plaintiffs in the Lawsuits. NNA will share the content of these communications with

Co-Lead Class Counsel prior to dissemination of the communications.                NNA’s official

communications to its dealers and owners/lessees will explain that the provision of the Warranty

Extension is subject to final approval of the Settlement. After preliminary approval and prior to

final approval, NNA may at its option in the interim provide Warranty Extension coverage to its

customers, subject to final approval, and pay dealers for making repairs that would be covered by

the Warranty Extension. In the event final settlement approval does not occur, Class Members

will not be obligated to reimburse NNA for the costs of such repairs made and NNA will not be

obligated to provide the Warranty Extension regardless of providing the benefit to customers in

the interim. In its communication notifying Class Members of the Warranty Extension, NNA will

include a statement advising owners that if they have concerns about the diagnosis of their vehicle,

they can request the dealer to contact NNA.

         REIMBURSEMENT CLAIMS ADMINISTRATION AND PROCEDURE

       78.     Class Members who believe they are eligible to receive reimbursement for a

Qualifying Repair will be directed to fill out and send to the Settlement Administrator the Claim

Form, in substantially the form attached to this Settlement Agreement as Exhibit “B” and all

necessary supporting documentation to qualify as an Authorized Reimbursement Participant.

Qualifying Class Members shall receive a check by mail.




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       79.     Non-contemporaneous documentation, such as post hoc statements by mechanics

or claimants shall not be considered to augment Appropriate Contemporaneous Documentation of

Qualifying Repair or Appropriate Contemporaneous Documentation of Nissan Diagnosis.

       80.     The Claim Form and supporting documentation may be sent to the Settlement

Administrator via mail, as provided in Paragraph 82, or via the Settlement Website. Upon

receiving a Claim Form from a claimant, the Settlement Administrator will review the

documentation for adequacy and validity and confirm or deny the Class Member’s eligibility as

an Authorized Reimbursement Participant.

       81.     The Claim Form, in substantially the form attached to this Settlement Agreement

as Exhibit “B,” will be presented to the Court for preliminary approval.

       82.     All Claim Forms must be submitted within the applicable Claims Period. Any

Class Member who fails to submit a Claim Form by the end of the applicable Claims Period shall

be forever barred from receiving any payment pursuant to this Settlement Agreement, and shall in

all other respects be bound by the terms of this Settlement Agreement and by the Final Order and

Judgment entered in the Stringer case. Class Members may not submit on appeal any new Claim

Form or necessary supporting documentation described in Paragraph 78. If a Claim Form is

transmitted online, it shall be deemed to have been submitted on the date it was transmitted. If a

Claim Form is mailed and received with a postmark or other evidence of the date of mailing

indicated on the envelope by the postal service or other independent carrier, the Claim Form shall

be deemed to have been submitted on the date of the postmark. In all other cases, the Claim Form

shall be deemed to have been submitted when actually received by the Settlement Administrator

or its designee.




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       83.     The Settlement Administrator shall contact a Class Member via mail or email, or

both if both are available, one time to advise the Class Member that their claim is deficient and

seeking to obtain additional information or supporting documentation if a Claim Form is

incomplete. The Settlement Administrator has no further affirmative obligation to seek additional

information or supporting documentation from or on behalf of the Class Member. The deficiency

process will take place in a timely fashion after the close of the Claims Period and upon the

Settlement Administrator’s determination that all timely-filed claims are likely to have been

received. Within thirty (30) days of that determination, the Settlement Administrator shall analyze

the claims submitted and send deficiency notices. Class Members have thirty (30) days to provide

additional information and supporting documentation. If, after expiration of the thirty (30) day

period, a Claim Form still does not meet the requirements set forth in this Settlement Agreement

and in the Claim Form instructions, or fails to include all required supporting documentation, such

Claim Form shall be rejected. The Settlement Administrator shall reject a Class Member’s Claim

Form if: (a) the Class Member seeks payment for repairs that are not covered by the terms of this

Settlement Agreement; (b) the Class Member fails to provide Appropriate Contemporaneous

Documentation of Qualifying Repair and, if applicable, Appropriate Contemporaneous

Documentation of Nissan Diagnosis; (c) the Claim Form is duplicative of another Claim Form; (d)

the person submitting the Claim Form is not a Class Member; (e) the Claim Form was not

submitted by the end of the applicable Claims Period; and (f) the Claim Form otherwise does not

meet the requirements of this Settlement Agreement.

       84.     Each Claim Form shall be submitted to and reviewed by the Settlement

Administrator, who shall determine in good faith in accordance with the terms and conditions of

this Settlement Agreement the extent, if any, to which each claim shall be allowed. The Settlement




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Administrator shall use all reasonable efforts and means to identify and reject duplicate and/or

fraudulent claims, including, without limitation, maintaining a record of every payment made to a

Class Member.

       85.     Claim Forms that do not meet the terms and conditions of this Settlement

Agreement, absent submission of additional information by the Class Member as described in

Paragraph 83 shall be rejected by the Settlement Administrator. Upon determination that a Claim

should be rejected after the close of the Claims Period, the Settlement Administrator shall notify

the Class Member by U.S. Mail and email if the Class Member has provided his or her email

address to the Settlement Administrator, within thirty (30) days of the determination of the

rejection, and inform the Class member of the appeal procedure. Notwithstanding Paragraph 66,

Co-Lead Class Counsel and NNA’s Counsel shall be provided with copies of all such notifications

to Class Members.

       86.     If any person whose Claim Form has been rejected, in whole or in part, desires to

contest such rejection, the person must, within thirty (30) days after the date of mailing of the

notice of the rejection described in Paragraph 85 serve upon the Settlement Administrator via the

Settlement Website or by mail a notice and statement of reasons indicating the claimant’s grounds

for contesting the rejection along with any supporting documentation and requesting review.

Notwithstanding Paragraph 66, the Settlement Administrator shall provide to NNA’s Counsel and

Co-Lead Class Counsel a copy of any claimant’s notice and statement of reasons for contesting

the rejection within seven (7) days of the Settlement Administrator’s receipt of same. If the dispute

concerning a claim cannot otherwise be resolved by NNA’s Counsel, Co-Lead Class Counsel and

the Settlement Administrator, within ninety (90) calendar days of the request for review, the

dispute shall be submitted to the Court for final decision. The Court shall have no responsibility




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for determining, adjudicating or resolving claims until after a rejected claim has been contested.

Prior to a claim being contested, the Settlement Administrator shall have the sole responsibility

for evaluating whether a claim meets the Criteria for Reimbursement.

       87.     No person shall have any claim against NNA or any of the Released Parties, NNA’s

Counsel, the Plaintiffs, the Settlement Class, Co-Lead Class Counsel, Executive Committee

Counsel, Other Plaintiffs’ Counsel or the Settlement Administrator based on any eligibility

determinations, distributions or payments made in accordance with this Settlement Agreement.

This provision does not affect or limit in any way the right of review by the Court of any disputed

Claim Forms or determinations regarding the amount of any monetary benefits, to the extent

provided above.

       88.     Within ninety days (90) of the Effective Date of Settlement, the Settlement

Administrator will mail or transmit to each Authorized Reimbursement Participant, via check, a

payment for reimbursement of the costs of a Qualifying Repair for which the Authorized

Reimbursement Participant has submitted Appropriate Contemporaneous Documentation of

Qualifying Repair, as determined by the Settlement Administrator.

       89.     Within ninety days (90) of the Effective Date of Settlement, the Settlement

Administrator will mail to each Authorized Voucher Participant a Voucher in the amount set forth

in Paragraph 59 towards the purchase or lease of a single new Nissan or Infiniti vehicle within nine

(9) months of the Effective Date of Settlement, as described in Paragraphs 42 and 59 of this

Settlement Agreement.

       90.     If this Settlement Agreement is not approved or for any reason the Effective Date

of Settlement does not occur, no benefits or distributions of any kind shall be made pursuant to

this Settlement Agreement, except for the cost of Notice and Settlement Administration Expenses




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incurred and the value of any reimbursements paid pursuant to Paragraph 88, if already provided

to a Class Member. In such event, any funds deposited by NNA into any account opened for the

purpose of this Settlement shall revert to NNA, together with all interest on the deposited funds.

                     OBJECTIONS AND REQUESTS FOR EXCLUSION
                               BY CLASS MEMBERS

        91.     Any Class Member who intends to object to the fairness, reasonableness, and/or

adequacy of the Settlement (an “Objection”) must file a written Objection with the Court and mail

a copy to NNA’s Counsel and at least one of Co-Lead Class Counsel at the addresses set forth in

Paragraph 94. The Summary Notice will provide a specific date by which the Objection must be

filed and copies postmarked, which date will be sixty (60) days after the Notice Date.

        92.     To state a valid Objection to the Settlement, a Class Member making an Objection

must provide the following information in his or her written Objection: (i) the Class Member’s full

name and current address; (ii) the model year and make of his or her vehicle(s) and approximate

date(s) of purchase; (iii) whether the Class Member still owns the vehicle(s); (iv) the VIN number

of the vehicle(s); (v) current odometer mileage of the vehicle(s) currently owned; (vi) a specific

statement of the Class Member’s reasons for objecting to the Settlement, including the factual and

legal grounds for his or her position; (vii) whether the objection applies only to the objector, to a

specific subset of the class, or to the entire class, (viii) a list of any other objections to any class

action settlements submitted to any court, whether State, Federal, or otherwise, in the United States

in the previous five (5) years; (ix) whether the Class Member intends to appear at the Fairness

Hearing and whether the Class Member will be represented by separate counsel; and (x) the Class

Member’s signature with the date of signature.

        93.     No Class Member shall be entitled to be heard at the Fairness Hearing (whether

individually or through separate counsel) unless written notice of the Class Member’s intention to



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appear at the Fairness Hearing and copies of any written Objections and briefs have been filed

with the Court and served on NNA’s Counsel and one or more of Co-Lead Class Counsel on or

before the date specified in the Preliminary Approval Order and Summary Notice. Class Members

who fail to timely file and serve a written Objection in the manner specified above shall be deemed

to have waived any objections and shall be foreclosed from making any objection (whether by

appeal or otherwise) to the Settlement Agreement.

       94.     Objections must be served:

       Upon NNA’s Counsel at:

               E. Paul Cauley, Jr.
               FAEGRE DRINKER BIDDLE & REATH LLP
               1717 Main Street
               Suite 5400
               Dallas, Texas 75201

       Upon at least one of Co-Lead Class Counsel at:

               Mark S. Greenstone
               GREENSTONE LAW APC
               1925 Century Park East, Suite 2100
               Los Angeles, CA 90067


               Marc L. Godino
               GLANCY PRONGAY & MURRAY LLP
               1925 Century Park East, Suite 2100
               Los Angeles, CA 90067


               J. Gerard Stranch, IV
               BRANSETTER, STRANCH & JENNINGS PLLC
               223 Rosa L. Parks Avenue, Suite 200
               Nashville, TN 37203


       95.     Class Members may elect to exclude themselves from this Settlement Agreement,

relinquishing their rights to benefits under this Settlement Agreement. A Class Member wishing

to exclude himself/herself from the Settlement must send to the Settlement Administrator his or


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her own personally signed letter or request (or, where appropriate due to disability, incapacity or

other condition, a signed letter or request from a Class Member’s conservator, custodian, or person

with applicable power of attorney along with documentation establishing such authority) including

(i) his/her name, (ii) address, (iii) telephone number, (iv) model and year of vehicle, (v) the VIN

number of the vehicle(s); and (vi) a clear statement communicating that he/she elects to be

excluded from the Settlement Class. Subject to the above conditions, a request signed only by a

representative or attorney for the Class Member is not valid. A single written letter or request for

exclusion submitted on behalf of more than one Class Member will be deemed invalid; provided,

however, that an exclusion received from one Class Member will be deemed and construed as a

request for exclusion by all co-owners or co-lessees of the vehicle. Mass or class opt-outs shall

not be allowed. No Class Member shall be deemed opted-out of the Settlement Class through any

purported “mass” or “class” opt-outs.

       96.     Any request for exclusion must be postmarked no later than sixty (60) days after

the Notice Date. The date of the postmark on the return mailing envelope shall be the exclusive

means used to determine whether a request for exclusion has been timely submitted. Class

Members who fail to submit a valid and timely request for exclusion on or before the date specified

in the Preliminary Approval Order and Notice, shall be bound by all terms of the Settlement

Agreement and the Final Order and Judgment, regardless of whether they have requested exclusion

from the Settlement.

       97.     Any Class Member who submits a timely request for exclusion may not file an

Objection to the Settlement and shall be deemed to have waived any rights or benefits under the

Settlement.




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         98.    Not later than seven (7) business days after the deadline for submission of requests

for exclusion, the Settlement Administrator shall provide to Co-Lead Class Counsel and NNA’s

Counsel a complete exclusion list together with copies of the exclusion requests.

         99.    Notwithstanding any other provision of this Settlement Agreement, if the number

of Class Members who exclude themselves from the Settlement is in excess of seven hundred fifty

(750) as of the date set forth in the Notice, NNA, in its sole discretion, may rescind and revoke the

entire Settlement and this Settlement Agreement, thus rendering the Settlement void in its entirety.

To do so, NNA shall send written notice that NNA revokes the Settlement pursuant to this

paragraph to Co-Lead Class Counsel within fourteen (14) days following the date the Settlement

Administrator informs NNA of the number of Class Members who have requested exclusion from

the Settlement pursuant to Paragraph 95. In the event NNA voids the agreement under this

provision, NNA is responsible for all Notice and Settlement Administration Expenses incurred to

date.

         100.   Upon expiration of the deadlines for filing objections and requests for exclusion

from the Settlement as set forth in the Preliminary Approval Order and Summary Notice, and on

the date set forth in the Preliminary Approval Order and Summary Notice, the Fairness Hearing

shall be conducted to determine final approval of the Settlement, along with the amount properly

payable for Attorneys’ Fees and Expenses. Upon final approval of the Settlement by the Court at

or after the Fairness Hearing, the Parties shall present the Final Order and Judgment, substantially

in the form attached to this Settlement Agreement as Exhibit “F,” to the Court for approval and

entry.

          RELEASES, DISMISSAL OF THE LAWSUITS AND FUTURE CLAIMS

         101.   It is agreed that upon the Effective Date of Settlement, all Class Members and their

heirs, executors, estates, predecessors, successors, assigns, agents and representatives shall be


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deemed to have jointly and severally released, and forever discharged, NNA and the Released

Parties from any and all Released Claims, whether known or unknown, and shall be fully and

forever barred and enjoined from instituting or prosecuting in any court or tribunal, either directly

or indirectly, individually or representatively, any and all Released Claims against NNA or the

Released Parties.

       102.    Class Members who have validly and timely requested exclusion from the

settlement by the date set by the Court do not release their claims and will not obtain any of the

benefits of the Settlement.

       103.    The claims released, settled, and compromised by this Settlement Agreement

include known and unknown claims relating to the Class Vehicles in the Lawsuits, and this

Settlement Agreement is expressly intended to cover and include all such injuries or damages

relating to such claims in the Lawsuits, including all rights of action thereunder. Class Members

and Plaintiffs expressly, knowingly, and voluntarily waive the provisions of Section 1542 of the

California Civil Code, which provides as follows:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
               THAT THE CREDITOR OR RELEASING PARTY DOES NOT
               KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
               THE TIME OF EXECUTING THE RELEASE AND THAT, IF
               KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
               AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
               OR RELEASED PARTY.

Class Members and Plaintiffs expressly waive and relinquish any and all rights and benefits which

they may have under, or which may be conferred upon them by, the provisions of Section 1542 of

the California Civil Code, or any other law of any state or territory which is similar, comparable,

or equivalent to Section 1542, to the fullest extent that they may lawfully waive such rights or

benefits pertaining to the Released Claims. In connection with such waiver and relinquishment,




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the Class Members and Plaintiffs acknowledge that they are aware that they or their attorneys may

hereafter discover claims or facts in addition to or different from those which they now know or

believe to exist with respect to the Released Claims, but that it is their intention to fully, finally,

and forever settle and release all of the Released Claims known or unknown, suspected or

unsuspected, which they have against NNA or Released Parties. In furtherance of such intention,

the release herein given by the Class Members and Plaintiffs, to NNA and Released Parties shall

be and remain in effect as a full and complete general release of the Released Claims

notwithstanding the discovery or existence of any such additional different claims or facts.

       104.    All Future Transmission Claims, as well as any claim or dispute relating to or

involving, in whole or in part, allegations related to the transmission in a Class Vehicle will be

governed exclusively by the Expedited Resolution Process, which is described in more detail in

Exhibit “A” to this Settlement Agreement.

       105.    Within five (5) days of the Effective Date of Settlement, Plaintiffs in the Lane,

Newton, Landa, and Eliason cases agree to dismiss, with prejudice, all claims and causes of action

relating to the Class Vehicles.

       106.    With the exception of Future Transmission Claims which are subject to the

Expedited Resolution Process, and notwithstanding the dismissal of all claims and causes of action

relating to the Class Vehicles in the Lawsuits, the Court shall retain jurisdiction over the Parties to

the Settlement Agreement with respect to the future performance of the terms of the Settlement

Agreement including, but not limited to, whether any claim being asserted in any Court or forum

is released by the terms of the Settlement Agreement. Any dispute about whether the Expedited

Resolution Process applies to a claim or dispute must be presented to the Court unless both parties

to that dispute agree to have another court or person decide the issue.




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         107.   Upon the Effective Date of Settlement: (a) the Settlement Agreement shall be the

exclusive remedy for any and all Released Claims of Class Members; (b) the Released Parties shall

not be subject to liability or expense of any kind other than obligations under this Settlement

Agreement to any Class Members; and (c) Class Members shall be permanently barred and

enjoined from initiating, asserting, or prosecuting any Released Claim against the Released Parties

in any federal or state court or tribunal.

        EFFECT OF CERTIFICATION AND DISAPPROVAL, CANCELLATION OR
                     TERMINATION OF THE SETTLEMENT

         108.   For purposes of settlement only, the Parties and their counsel agree that the Court

should make preliminary findings and enter the Preliminary Approval Order granting provisional

certification of the Settlement Class subject to final findings and ratification in the Final Order and

Judgment, and appointing Class Representatives and Co-Lead Class Counsel and Executive

Committee Counsel.

         109.   NNA does not consent to certification of the Settlement Class for any purpose other

than to effectuate the Settlement of the Action. If this Settlement Agreement is terminated for any

reason, or the Effective Date of Settlement for any reason does not occur, the order certifying the

Settlement Class for purposes of effectuating this Settlement Agreement, and all preliminary

and/or final findings regarding that class certification order, shall be automatically vacated upon

notice of the same to the Court, the Lawsuits shall proceed as though the Settlement Class had

never been certified pursuant to this Settlement Agreement and such findings had never been made,

the Lawsuits shall return to the procedural status quo in accordance with this paragraph, and NNA

shall have the right to object to certification of the Settlement Class or any other class at any future

time.




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       110.    In the event an appeal is filed from the Court’s Final Order and Judgment, or any

other appellate review is sought prior to the Effective Date of Settlement, administration of the

Settlement shall be stayed pending final resolution of the appeal or other appellate review unless

the Parties agree otherwise.

                   SETTLEMENT NOT EVIDENCE AGAINST PARTIES

       111.    The Released Parties deny any and all allegations set forth in the Lawsuits and deny

all wrongdoing. This Settlement Agreement is not a concession or admission, and shall not be

used against any of the Released Parties as an admission or indication with respect to any claim of

any fault, concession, or omission by any of the Released Parties. Whether or not the Settlement

Agreement is finally approved, neither the Settlement Agreement, nor any document, statement,

proceeding, or conduct related to this Settlement Agreement, nor any reports or accounts thereof,

shall be: (i) construed as, offered or admitted in evidence as, received as, or deemed to be evidence

for any purpose, including, but not limited to, evidence of a presumption, concession, indication

or admission by any of the Released Parties of any liability, fault, wrongdoing, omission,

concession or damage; or (ii) disclosed or referred to for any purpose, or offered or received in

evidence, in any further proceeding in the Lawsuits, or any other civil, criminal, or administrative

action or proceeding against any of the Released Parties except for purposes of settling the claims

relating to the Class Vehicles in the Lawsuits pursuant to this Settlement Agreement. The

limitations set forth in this paragraph do not apply to use and/or disclosure by any of the Released

Parties against Class Members or third parties, including, without limitation, for purposes of

supporting a defense or counterclaim of res judicata, collateral estoppel, release, good faith

settlement, judgment bar, offset, reduction, or any other theory or claim of issue or claim

preclusion or similar defense or counterclaim.




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        112.    Whether or not this Settlement Agreement is finally approved by the Court, the

Parties agree that the Settlement Agreement shall not constitute evidence of the propriety of class

certification for the purpose of litigation or for trial in the Lawsuits or any other case.

                             ATTORNEYS’ FEES AND EXPENSES

        113.    Only Co-Lead Class Counsel shall be entitled to apply to the Court for an award of

reasonable Attorneys’ Fees and Expenses in a total amount up to, but not to exceed, $6,250,000.

Co-Lead Class Counsel may also apply to the Court for an award to Class Representatives Teresa

Stringer, Karen Brooks, William Papania, Jayne Newton, Menachem Landa, Andrea Eliason,

Brandon Lane, Debbie O’Connor, Michelle Williams, and Wayne Balnicki (“Class

Representatives”) of an incentive payment of $5,000 per Class Representative. The award of

Attorneys’ Fees and Expenses will include all fees, expenses, and costs for Co-Lead Class Counsel,

Executive Committee Counsel and Other Plaintiffs’ Counsel in connection with the claims relating

to the Class Vehicles in the Lawsuits. Co-Lead Class Counsel, Executive Committee Counsel,

and Other Plaintiffs’ Counsel shall not be permitted to petition the Court for any additional

payments for fees (including catalyst fees), costs, expenses or incentive awards other than those

sought in the application of Co-Lead Class Counsel expressly permitted by this paragraph, and the

award shall be for all claims for Attorneys’ Fees and Expenses and incentive awards past, present,

and future incurred in the Lawsuits. The actual amount of any award of Attorneys’ Fees and

Expenses will be determined by the Court. The Parties negotiated and agreed to the amount of

Attorneys’ Fees and Expenses for which Co-Lead Class Counsel could apply, and the incentive

awards for which the Class Representatives could apply, only after reaching agreement upon all

other material terms of this Settlement Agreement.

        114.    NNA and its attorneys agree not to oppose any applications for Attorneys’ Fees and

Expenses of $6,250,000 or less by Co-Lead Class Counsel and the Class Representative incentive


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payment of $5,000 to each Class Representative, so long as such applications are consistent with

the provisions of this Settlement Agreement, and further agree to pay any amount awarded by the

Court for Attorneys’ Fees and Expenses and Class Representative incentive payments that does

not exceed the amounts listed in this paragraph.

       115.    Any Attorneys’ Fees and Expenses awarded by the Court to Co-Lead Class Counsel

and incentive awards awarded by the Court to Plaintiffs shall be paid by NNA through the

Settlement Administrator, within twenty-eight (28) days after the Effective Date of Settlement.

NNA shall have no liability or other responsibility for the allocation of the Attorneys’ Fees and

Expenses among Co-Lead Class Counsel, Executive Committee Counsel and Other Plaintiffs’

Counsel, or for the allocation of the incentive payments among and between Plaintiffs. Co-Lead

Class Counsel shall distribute the Attorneys’ Fees and Expenses amount awarded among all Co-

Lead Class Counsel, Executive Committee Counsel and Other Plaintiffs’ Counsel, in their sole

discretion. In the event any dispute arises relating to the allocation of the Attorneys’ Fees and

Expenses, Co-Lead Class Counsel, Executive Committee Counsel, and Other Plaintiffs’ Counsel

agree to hold NNA harmless from any and all liabilities, costs and expenses relating to such

dispute.

       116.    NNA’s payment of the Attorneys’ Fees and Expenses, as described in this

Settlement Agreement, shall constitute full satisfaction of NNA’s obligation to pay any person,

attorney, or law firm for attorneys’ fees, costs, and expenses incurred on behalf of the Plaintiffs

and the Settlement Class, and shall relieve NNA and the Released Parties from any other claims

or liability to any other attorney, law firm, or person for any attorneys’ fees, expenses, and costs

to which any of them may claim to be entitled on behalf of Plaintiffs and the Settlement Class that

are in any way related to the Released Claims.




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       117.    In the event that Co-Lead Class Counsel seek, request, or apply in any forum, in

connection with this Settlement or the claims relating to the Class Vehicles asserted in the

Lawsuits, for an award of Attorneys’ Fees and Expenses in excess of $6,250,000, as described in

Paragraph 113, NNA shall have the right, in its sole discretion, to terminate, cancel, and/or set

aside this Settlement Agreement, in which event the Settlement would become null and void.

Plaintiffs and Co-Lead Class Counsel agree that no application for an award for Attorneys’ Fees

and Expenses in connection with the Lawsuits shall be submitted, filed, or pursued in any forum

other than the Court.

       118.    In the event that this Settlement Agreement is not finally approved by the Court,

the Parties agree that Co-Lead Class Counsel, Executive Committee Counsel, and Other Plaintiffs’

Counsel shall not be entitled to and shall not seek any Attorneys’ Fees and Expenses in connection

with any benefits received by any Class Members related to the proposed Settlement under this

Settlement Agreement. This prohibition on seeking Attorneys’ Fees and Expenses is inapplicable

if NNA exercises its rights under Paragraph 99, although NNA retains the right to oppose

entitlement to any Attorneys’ Fees and Expenses that it disputes.

                        CONFIDENTIAL DISCOVERY MATERIALS

       119.    Within sixty (60) days of the Effective Date of Settlement and upon Nissan’s

Counsel’s request, Co-Lead Class Counsel, Executive Committee Counsel, and Other Plaintiffs’

Counsel shall comply with the return or destruction of documents provision under the terms and

conditions of the Agreed Protective Order entered between the Parties in the Lawsuits.

                REPRESENTATIONS, WARRANTIES AND COVENANTS

       120.    Co-Lead Class Counsel, Executive Committee Counsel, and Other Plaintiffs’

Counsel who are signatories to this Settlement Agreement represent and warrant that they have the

authority, on behalf of all Plaintiffs, to execute, deliver, and perform this Settlement Agreement


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and to consummate the transactions contemplated by this Settlement Agreement. Co-Lead Class

Counsel further warrant and represent that they have authority to seek the dismissal with prejudice

of the claims relating to the Class Vehicles in the Lawsuits, as contemplated above. This

Settlement Agreement has been duly and validly executed and delivered by Co-Lead Class

Counsel, Executive Committee Counsel, and Other Plaintiffs’ Counsel, individually and on behalf

of Plaintiffs, and constitutes their legal valid and binding obligation.

       121.    NNA represents and warrants that NNA has the authority to execute, deliver, and

perform this Settlement Agreement and to consummate the transactions contemplated by this

Settlement Agreement. The execution, delivery, and performance by NNA of this Settlement

Agreement and the consummation by NNA of the actions contemplated by this Settlement

Agreement have been duly authorized by all necessary corporate action on the part of NNA. This

Settlement Agreement has been duly and validly executed and delivered by NNA, by and through

NNA’s Counsel, and constitutes NNA’s legal, valid, and binding obligation.

                               MISCELLANEOUS PROVISIONS

       122.    The headings in this Settlement Agreement are included for convenience only and

shall not be deemed to constitute part of this Settlement Agreement or to affect its construction.

       123.    This Settlement Agreement, including all appendices and exhibits attached to this

Settlement Agreement, may not be modified or amended except in writing signed by all Parties to

this Settlement Agreement.

       124.    This Settlement Agreement may be executed in one or more counterparts, each of

which shall be deemed an original, but all of which together shall constitute one and the same

instrument.




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       125.    The terms of this Settlement Agreement shall be governed by and construed in

accordance with the substantive laws of the State of Tennessee, without giving effect to any of its

conflict of laws provisions.

       126.    Except as specifically provided in this Settlement Agreement, the Parties shall each

bear their own costs and attorneys’ fees, including taxable Court costs.

       127.    All of the exhibits to this Settlement Agreement are material and integral parts of

this Settlement Agreement and are fully incorporated into this Settlement Agreement by this

reference. This Settlement Agreement and the Exhibits to this Settlement Agreement constitute

the entire, fully integrated agreement among the Parties and void, cancel, and supersede all prior

written and unwritten agreements and understandings pertaining to the Settlement. The Parties

each covenant and warrant that they have not relied upon any promise, representation, or

undertaking not set forth in writing herein to enter into this Settlement Agreement.

       128.    If any provision, paragraph, article, or other portion of this Settlement Agreement

is found to be void, all of the remaining portions of this Settlement Agreement shall remain in

effect and be binding upon mutual agreement of the Parties.

       129.    The Parties reserve the right, subject to the Court’s approval, to make any

reasonable extensions of time that might be necessary to carry out any of the provisions of this

Settlement Agreement.

       130.    Any notice, request or instruction or other document to be given by any Party to

this Settlement Agreement to any other Party to this Settlement Agreement (other than the Notice

to the Settlement Class) shall be in writing and delivered via e-mail:

       Upon NNA at:

       E. Paul Cauley, Jr.
       paul.cauley@faegredrinker.com



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     FAEGRE DRINKER BIDDLE & REATH LLP
     1717 Main Street
     Suite 5400
     Dallas, Texas 75201


     Upon Co-Lead Class Counsel at:

    Mark S. Greenstone
    mgreenstone@greenstonelaw.com
    GREENSTONE LAW APC
    1925 Century Park East, Suite 2100
    Los Angeles, CA 90067


    Marc L. Godino
    mgodino@glancylaw.com
    GLANCY PRONGAY & MURRAY LLP
    1925 Century Park East, Suite 2100
    Los Angeles, CA 90067


    J. Gerard Stranch, IV
    gerard@bsjfirm.com
    BRANSETTER, STRANCH & JENNINGS PLLC
    223 Rosa L. Parks Avenue, Suite 200
    Nashville, TN 37203

    Upon Executive Committee Counsel at:

    Stephen R. Basser
    sbasser@barrack.com
    BARRACK, RODOS & BACINE
    600 West Broadway, Suite 900
    San Diego, CA 92101

    Lawrence Deutsch
    ldeutsch@bm.net
    BERGER MONTAGUE PC
    1818 Market Street, Suite 3600
    Philadelphia, PA 19103

    Ryan McDevitt
    rmcdevitt@kellerrohrback.com
    KELLER ROHRBACK L.L.P.
    1201 Third Avenue, Suite 3200
    Seattle, WA 98101


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       Upon Other Plaintiffs’ counsel at:



       John G. Emerson
       jemerson@emersonfirm.com
       EMERSON FIRM, PLLC
       2500 Wilcrest Drive, Suite 300
       Houston, TX 77042


       Caroline Ramsey Taylor
       caroline@whitfieldbryson.com
       WHITFIELD BRYSON LLP
       518 Monroe Street
       Nashville, TN 37208

       131.    All applications for Court approval or Court orders required or permitted under this

Settlement Agreement shall be made with reasonable prior notice to all Parties.

       132.    The determination of the terms of, and the drafting of, this Settlement Agreement

including its exhibits, has been by mutual agreement after negotiation, with consideration by, and

participation of all Parties and their counsel. Because this Settlement Agreement was drafted with

the participation of all Parties and their counsel, the presumption that ambiguities shall be

construed against the drafter does not apply. Each of the Parties was represented by competent

and effective counsel throughout the course of Settlement negotiations and in the drafting and

execution of this Settlement Agreement, and there was no disparity in bargaining power among

the Parties to this Settlement Agreement.

       133.    The Parties agree to hold all proceedings in the Lawsuits, except such proceedings

as may be necessary to implement and complete the Settlement Agreement, in abeyance pending

the Fairness Hearing to be conducted by the Court.




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       134.    The Parties believe that this Settlement Agreement is a fair, adequate, and

reasonable settlement of the claims relating to the Class Vehicles in the Lawsuits and have arrived

at this Settlement through arm's length negotiations, taking into account all relevant factors,

present, and potential.




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DocuSign Envelope ID: BE5C9BEF-7399-490E-908A-863FBE59DD55




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Case 3:21-cv-00099 Document 67-1 Filed 09/07/21 Page 52 of 103 PageID #: 811
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Case 3:21-cv-00099 Document 67-1 Filed 09/07/21 Page 54 of 103 PageID #: 813
By: _______________________________________
Mark S Greenstone
GREENSTONE LAW APC
1925 Century Park East, Suite 2100
Los Angeles, California 90067


By: _______________________________________
Marc L. Godino
GLANCY PRONGAY & MURRAY LLP
1925 Century Park East, Suite 2100
Los Angeles, California 90067




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Case 3:21-cv-00099 Document 67-1 Filed 09/07/21 Page 57 of 103 PageID #: 816
By: ______________________________________
J. Gerard Stranch, IV
BRANSTETTER, STRANCH & JENNINGS PLLC
223 Rosa L. Parks Avenue, Suite 200
Nashville, Tennessee 37203

Co-Lead Class Counsel

By: _______________________________________
Stephen R. Basser
BARRACK, RODOS & BACINE
600 West Broadway, Suite 900
San Diego, CA 92101


By: _______________________________________
Lawrence Deutsch
BERGER MONTAGUE PC
1818 Market Street, Suite 3600
Philadelphia, PA 19103


By: _______________________________________
Ryan McDevitt
KELLER ROHRBACK L.L.P.
1201 Third Avenue, Suite 3200
Seattle, WA 98101

Executive Committee Counsel

By: _______________________________________
John G. Emerson
EMERSON FIRM, PLLC
2500 Wilcrest Drive, Suite 300
Houston, TX 77042


By: _______________________________________
Caroline Ramsey Taylor
WHITFIELD BRYSON LLP
518 Monroe Street
Nashville, TN 37208




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                                            EXHIBIT A

       To the extent that any Class Member has a claim under the New Vehicle Limited Warranty

or Extended Warranty, or attempts to assert any claim or dispute relating to or involving, in whole

or in part, allegations related to the transmission in a Class Vehicle, the following will apply:

       (1)     Claims must be submitted through an alternative dispute resolution program such
               as BBB AUTO LINE, BBB National Programs, or other dispute resolution program
               operated by another independent provider that has been mutually agreed to by the
               Parties (the “ADR Program”).

       (2)     The ADR Program will follow its standard procedures for reaching a resolution.

       (3)     No Class Member may file a lawsuit in any jurisdiction or forum related to the New
               Vehicle Limited Warranty or Extended Warranty, or attempt to assert any claim or
               dispute relating to or involving, in whole or in part, allegations related to the
               transmission in a Class Vehicle, unless and until such claims have been submitted
               through the ADR Program and a decision has been rendered by the ADR Program.

       (4)     A Decision by the ADR Program that requires NNA to repurchase a Class Vehicle
               under terms set forth by the ADR Program arbitrator will be binding on the
               Settlement Class Member, and the Settlement Class Member may not appeal such
               Decision or file a lawsuit in any jurisdiction or forum related to any Claims.

       (5)     To the extent NNA has not made a written offer as contemplated in the following
               paragraph (6), if the ADR Program’s decision does not require NNA to repurchase
               the Class Member’s Vehicle, the Class Member may accept the ADR Program’s
               decision, appeal it, or file a lawsuit.

       (6)     In addition, if NNA makes a written offer to repurchase a Class Vehicle applying
               the offset formula for use by the consumer, as set forth by the state law where the
               Settlement Class Member resides or, if no state law formula exists, the law of
               California, then the Settlement Class Member may not appeal such Decision or file
               a lawsuit in any jurisdiction or forum related to any Claims.

       (7)     In any event, a Decision by the ADR Program will be binding on NNA, and NNA
               may not appeal a decision by the ADR Program.

       (8)     Any cost for ADR Program will be borne by NNA.




                                                                                          Redacted
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                         Exhibit B




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                                                           Claim Form
                                                                                               For Official Use Only
Teresa Stringer, et al. v. Nissan North America, Inc., Case No. 3:21-cv-00099

Please upload at www.________ or return by regular mail to:


All claims must be submitted online or post marked by ________________ or
within 30 days of the qualifying repair to your vehicle for which you seek
reimbursement, whichever is later. If your claim is submitted by mail without a
post mark, it must be received by ____________ or within 30 days of the repair,
whichever is later.




 I. Claimant Contact Information
Claimant Name ______________________________________________________________________________________________

Mailing Address ______________________________________________________________________________________________

City _____________________________________              State ____________________   Zip Code ___ ___ ___ ___ ___

Daytime Telephone Number (____ ____ ____) ___ ___ ___--___ ___ ___ ___               Email ______________________________

Evening Telephone Number (____ ____ ____) ___ ___ ___--___ ___ ___ ___




 II. Claimant Verification Information
                                                                                       Yes                   No
1.   Did you purchase or lease a 2014-2018 model year Nissan Rogue,
     2015-2018 model year Nissan Pathfinder, or 2015-2018 model year
     Infiniti QX60 vehicle?

     If so, please provide the following information:


_____________               _______________________________________
Model Year                         Model




Vehicle Identification Number (VIN)
                                                                                       Yes                   No
2.   Did you pay out of your own pocket – in whole or in part – for
     replacement of or repair to the transmission assembly (including torque
     converter and/or valve body) or Automatic Transmission Control Unit
     (ATCU) in your vehicle? If you paid to have the transmission assembly
     repaired more than once, you should include all payments you made
     for all repairs in this claim form.



If you answered “NO” to question 1 OR question 2, you are not eligible
to submit a claim.

If you answered “YES” to questions 1 AND 2, please answer the                        $___________________________
following questions:


(a) How much did you pay for parts and labor in connection with the
    replacement or repair? (You may not include any amounts paid for by
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    Nissan or Infiniti or by an extended warranty or service contract
    provider).

                                                                                           miles
(b) What was your odometer mileage at the time of replacement or repair?

(c) Do you have documentation showing that the replacement or repair                          Yes                      No
    was to the transmission assembly (including torque converter and/or
    valve body) or Automatic Transmission Control Unit (ATCU) in your
    vehicle?

    If yes, please include an original, or true and correct copy of
    documentation created by an authorized Nissan or Infiniti dealer or
    other non-Nissan/Infiniti automotive repair facility at or near the time of
    the replacement or repair, which includes the following information:

    1.   Your vehicle’s VIN;
    2.   Proof you paid in whole or in part for the replacement or repair out
         of pocket;
    3.   The amount you paid for the replacement or repair;
    4.   Your vehicle’s mileage at the time of replacement or repair; and
    5.   The date of replacement or repair to your vehicle.


                                                                                              Yes         No          N/A
(d) If the replacement or repair was performed after the mileage and
    durational limits of the Warranty Extension as applicable to your
    vehicle, do you have documentation showing that an authorized Nissan
    or Infiniti dealer previously diagnosed and recommended replacement
    or repair to your transmission or ATCU when your vehicle was within
    the mileage and durational limits of the Warranty Extension?

    If yes, in addition to the documentation requested in part (c) above,
    please include an original, or true and correct copy of documentation
    created by an authorized Nissan or Infiniti dealer at or near the time of
    the diagnosis and recommendation, which includes the following
    information:

    1.   The authorized Nissan or Infiniti dealer diagnosed and
         recommended a replacement or repair to the transmission
         assembly (including torque converter and/or valve body) or ATCU
         in your vehicle;
    2.   Your Vehicle’s VIN;
    3.   Your vehicle’s mileage at the time of the Nissan or Infiniti dealer’s
         diagnosis and recommendation; and
    4.   The date of the Nissan or Infiniti dealer’s diagnosis and
         recommendation.




III. Voucher Eligibility
The Settlement Agreement provides a voucher of $1,000 for the purchase or lease of a single Nissan or Infiniti vehicle to current or former
owners of vehicles who had two or more replacements or repairs to the transmission assembly (including torque converter and valve
body) and/or ATCU during their ownership experience.

If the Settlement Administrator determines that you are eligible to receive a $1,000 voucher and you believe you are also eligible
for reimbursement, you must elect whether to receive reimbursement or a voucher. You may not receive both benefits. Please
select one of the following:


         ______ I elect to receive a voucher, if I am eligible.

         ______ I elect to receive reimbursement, if I am eligible. (You must complete sections I and II above for the reimbursement).
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IV. Acknowledgement of Claimant(s)
Claimants must acknowledge that they have read and agree to the following by checking the boxes (mandatory):


□ SUBMISSION TO JURISDICTION OF THE COURT.                 I (we) agree to submit to the exclusive jurisdiction of the United States District
Court for the Middle District of Tennessee, Nashville Division, for all purposes associated with this Claim.


□ VERIFICATION OF CLAIM.         I (we) represent that I am (we are) the current or former owner(s) or lessee(s) of the vehicle identified in
this Claim Form.
□ VERIFICATION OF OUT OF POCKET PAYMENT.               I (we) certify that no portion of the cost of replacement or repair for which I (we)
seek reimbursement was previously paid for by Nissan, an authorized Nissan or Infiniti dealer, or an extended warranty or service contract
provider.



V. Certification of Accuracy and Release of Claim
I (we) hereby declare that all the information that I (we) supplied in this Claim Form, including any documents submitted in support of this
Claim Form is true and correct and this document is signed under penalty of perjury.

If more than one Owner/Lessee, this Claim Form must be signed by all Owners/Lessees.



________________________________________________                                    ___ ___ / ___ ___ / ___ ___ ___ ___
Signature of Claimant                                                               Date of Signature



________________________________________________                                    ___ ___ / ___ ___ / ___ ___ ___ ___
Signature of Claimant                                                               Date of Signature




                   If you have questions about this Claim Form, call ___________or visit www.____________.com.




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                         Exhibit C




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               UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE

                                          NOTICE OF PROPOSED SETTLEMENT

   IF YOU PURCHASED OR LEASED A 2014-2018 MODEL YEAR NISSAN ROGUE, 2015-2018 MODEL YEAR
NISSAN PATHFINDER, OR 2015-2018 MODEL YEAR INFINITI QX60, YOU MAY QUALIFY FOR BENEFITS FROM
                                 A CLASS ACTION SETTLEMENT.

                        You should read this Notice carefully because it may affect your legal rights.

                   A federal court has ordered this Notice. It is not from a lawyer, and you are not being sued.

         This Settlement resolves a lawsuit about the continuously variable transmission (“CVT”) in 2014-2018 model year
          Nissan Rogue, 2015-2018 model year Nissan Pathfinder and 2015-2018 model year Infiniti QX60 vehicles (“Class
          Vehicles”).

         The Settlement will provide (1) an extension of the New Vehicle Limited Warranty applicable to the transmission for
          the Class Vehicles; (2) reimbursement for Class Members who paid for qualifying CVT repairs or replacements that
          would have been covered by the Warranty Extension; (3) a Voucher towards the purchase or lease of a new Nissan or
          Infiniti vehicle at an authorized Nissan or Infiniti dealer for current and former owners of Class Vehicles who qualify;
          and (4) an expedited resolution program through the BBB if you have future claims related to your transmission.

         Your legal rights are affected whether or not you act. Please read this Notice carefully.

                                                   Your Rights and Choices:

        You may:                                Summary:                             Read more:               Deadline:
                          You are included in the Settlement Class and, if the
                          Settlement is approved, you will automatically receive
                          a 24 month or 24,000 mile extension (whichever occurs
                          first) of the warranty on the transmission of your Class
                          Vehicle; be eligible for a Voucher towards the purchase
     Do nothing                                                                       Pages 4-5
                          or lease of a new Nissan or Infiniti vehicle for current
                          or former owners of Class Vehicles, if you qualify; and
                          be covered by an expedited resolution program through
                          the BBB if you have a future claim related to your
                          transmission.
                          You do not have to do anything to be included in the
                          Settlement Class, but to be eligible for reimbursement                      Submit your Claim
  Submit a Claim                                                                      Pages 4-5
                          of qualifying transmission repairs, you must submit a                       Form by: __________*
                          Claim Form by the deadline.
                          Ask to get out of the Settlement. You get no Settlement                     Mail your Opt Out
   Opt out of the
                          benefits, but keep your right to file your own lawsuit      Pages 5-6       Request Postmarked
    Settlement
                          against Nissan.                                                             by:
                          Remain a Class Member and tell the Court what you do
                          not like about the Settlement. You will still be bound
                                                                                                      Objections and/or
                          by the Settlement if the Court approves it. If you want
         Object                                                                       Pages 6-8       Notice of Appearance
                          your own attorney to represent you, you must pay for
                                                                                                      Filed by:
                          him or her yourself. Your attorney must file a Notice
                          of Appearance.

*Claim Forms must be submitted to the Settlement Administrator by _______________, or within 30 days of the qualifying
repair to your vehicle, whichever is later.

          No Settlement benefits will be distributed unless the Court approves the Settlement and it becomes final.



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                                                       Basic Information

    1.   What is this lawsuit about?

In this lawsuit called Teresa Stringer, et al. v. Nissan North America, Inc., Case No. 3:21-cv-00099, pending in the United
States District Court for the Middle District of Tennessee, Nashville Division, a number of individuals on behalf of themselves
and all current and former owners and lessees of 2014-2018 model year Nissan Rogue, 2015-2018 model year Nissan Pathfinder
and 2015-2018 model year Infiniti QX60 vehicles (“Class Vehicles”), allege that the Class Vehicles have a defective
continuously variable transmission (“CVT”) which can lead to poor transmission performance or failure. The Plaintiffs brought
claims against Nissan North America, Inc. (“Nissan” or “NNA”) for breach of express warranty, breach of implied warranty,
negligence, fraudulent omission, unjust enrichment and violation of various State consumer protection statutes. They also
sought various injunctive remedies and damages. The people who sued are called the Plaintiffs. The company they sued,
Nissan, is called the Defendant.

Nissan has, and continues to, deny all of Plaintiffs’ claims related to the CVT in their vehicles, denies all allegations of
wrongdoing, fault, liability or damage of any kind to Plaintiffs or the Settlement Class, denies that it acted improperly or
wrongfully in any way, and believes that this litigation is without merit.

    2.   Why is the lawsuit a class action?

In a “class action lawsuit,” one or more people called “Class Representatives” sue on behalf of people who allegedly have
similar claims. The people together are a “Class” or “Class Members.” The Court preliminarily has decided that this lawsuit
can be a class action for settlement purposes. However, final certification of the Settlement Class will depend on the Court
granting final approval of the Settlement. This means that, if the Settlement does not receive final approval by the Court, then
Class Members will not get benefits under this Settlement, and Plaintiffs will need to go back to Court to seek to certify a class
and prove their case through trial even if a class is certified.

    3.   Why is there a Settlement?

Plaintiffs believe that their case is meritorious, yet they have agreed to this Settlement because, if it is approved, it provides
benefits to the Class, while avoiding risks associated with further litigation and trial.

Nissan believes the lawsuit has no merit, but nevertheless is willing to enter into this Settlement as a further commitment to its
customers, to provide extra peace of mind to its customers, and to end further litigation, which could be protracted, burdensome
and expensive.

The Court has not decided who is right or wrong in this lawsuit. This proposed Settlement is not, and should not be considered
as, evidence of Nissan’s admission or concession of any fault, wrongdoing or liability whatsoever, nor a concession by Plaintiffs
that their suit was meritless.

    4.   What is the Effective Date of this Settlement?

The Effective Date of this Settlement is the date when the Settlement becomes final, which is sixty-one (61) days after the date
when the Final Order and Judgment in this Lawsuit is entered, unless there is an appeal. If there is an appeal, the Effective
Date will be the date on which (a) all such appeals have been dismissed; or (b) the appropriate Court of Appeals has entered a
final judgment affirming the Final Order and Judgment of the Court, which (i) is no longer subject to any further appellate
challenge, or (ii) has been affirmed by the United States Supreme Court, whichever is earlier.

For more information regarding final approval of the Settlement, see Questions 20 and 21.

                                                   Who is in the Settlement

    5.   How do I know if I am part of the Settlement?

You are a Class Member and part of the Settlement if you purchased or leased in the United States or its territories, including
Puerto Rico, a 2014-2018 model year Nissan Rogue, 2015-2018 model year Nissan Pathfinder or 2015-2018 model year Infiniti
QX60 vehicle equipped with a CVT.


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Excluded from the Settlement Class are: (1) NNA, any entity or division in which NNA has a controlling interest, its/their legal
representatives, officers, directors, assigns and successors; (2) any judge to whom this case is assigned and the judge’s clerks
and any member of the judge’s immediate family and any judge of the Sixth Circuit Court of Appeals; and (3) government
purchasers and lessees.

                                       The Settlement Benefits – What You Will Get

    6.   What are the possible benefits of this Settlement?

If you are a Class Member, you could receive one of the following benefits if the Settlement is approved:

         (1) Warranty Extension. Nissan will extend the terms of the New Vehicle Limited Warranty for the transmission
             assembly (including the valve body and torque converter) and Automatic Transmission Control Unit (“ATCU”)
             in all Class Vehicles by twenty-four (24) months or twenty-four thousand (24,000) miles, whichever occurs first
             (the “Warranty Extension”) as follows:

             2014-2018 model year Nissan Rogue and 2015-2018 model year Nissan Pathfinder vehicles:

                 The original coverage of 60 months or 60,000 miles, whichever comes first, will be extended to 84 months
                  or 84,000 miles, whichever comes first.

             2015-2018 model year Infiniti QX60 vehicles:

                 The original coverage of 72 months or 70,000 miles, whichever comes first, will be extended to 96 months
                  or 94,000 miles, whichever comes first.

             The Warranty Extension will be subject to the terms and conditions of the original New Vehicle Limited Warranty
             applicable to the Class Vehicle.

         (2) Reimbursement for Replacement of or Repair to Transmission Assembly or ATCU. Nissan will reimburse
             Class Members for parts and labor actually paid by the Class Member for qualifying repairs involving the
             replacement of or repair to the transmission assembly or ATCU of their Class Vehicle if the work was done after
             the expiration of the powertrain coverage under the original New Vehicle Limited Warranty but within the
             mileage and time limits of the Warranty Extension. If the replacement or repair was performed by a Nissan or
             Infiniti dealer, the full amount the Class Member paid will be reimbursed. If the repair or replacement was
             performed by a non-Nissan/Infiniti automotive repair facility, Nissan will reimburse up to $5,000 for that repair
             or replacement. In both cases, the replacement or repair must have occurred on or within the mileage and time
             limits of the Warranty Extension. If you paid for repairs on more than one occasion, you can be reimbursed for
             all qualifying repairs subject to the above limits. For more information, see Question 8 below.

         (3) Voucher Towards Purchase or Lease of a New Vehicle. Current and former owners of Class Vehicles who
             had two (2) or more replacements or repairs to the transmission assembly (including the valve body and torque
             converter) or ATCU during their ownership experience (as reflected by NNA warranty records) are eligible for a
             Voucher in the amount of $1,000 for either a purchase or lease of a single new Nissan or Infiniti vehicle. Prior
             software updates and/or reprogramming do not count as a prior repair. The election to apply the Voucher toward
             the purchase or lease of a single new Nissan or Infiniti vehicle must be exercised within nine (9) months of the
             Effective Date of this Settlement. The Voucher is not transferable. Class Members eligible for a Voucher but
             also eligible for reimbursement of a qualifying repair must elect either to receive the Voucher or to receive
             reimbursement; you cannot receive both.

    7.   What if my car is currently outside the mileage and time limits of the Warranty Extension but I paid to have
         repairs performed previously?

Even if your Class Vehicle is now outside the mileage and time limits of the Warranty Extension, you may still make a claim
for reimbursement but only if you previously paid out of pocket for parts and labor for replacement of or repair to the
transmission assembly (including the valve body and torque converter) or ATCU by a Nissan or Infiniti dealer or other non-
Nissan/Infiniti automotive repair facility while your vehicle was within the mileage and time limits of the Warranty Extension.
See Question 11 for information on how to submit a claim.

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    8.   What if I have not repaired my car, but a Nissan or Infiniti dealer has previously diagnosed and recommended a
         replacement of or repair to the transmission?

If a Nissan or Infiniti dealer previously diagnosed and recommended the replacement or repair of your transmission assembly
or ATCU before your Class Vehicle was outside the mileage and time limits of the Warranty Extension but you did not have
the work performed, and you pay to have that replacement or repair performed before the vehicle has been driven 95,000 miles
and no later than [insert 90 days after Notice Date], then, if you submit a valid claim, you would be eligible for reimbursement
of the transmission repair or replacement costs, subject to the cap of $5,000 if the work was done by non-Nissan/Infiniti
automotive repair facility. Repairs made after 95,000 miles or after [insert 90 days after Notice Date], whichever occurs first,
are not eligible for reimbursement.

    9.   Am I giving anything up in return for my benefit?

Unless you get out of the Settlement (which is called “excluding yourself” or “opting out”), you are part of the Settlement
Class. By staying part of the Settlement Class, Court orders will apply to you and you will give Nissan, Nissan-related
companies and the selling or leasing dealer a “release.” This release means you cannot sue or be part of any other lawsuit
against the Defendant, its related companies or the selling or leasing dealer based upon or in any way related to transmission
design, manufacturing, performance, or repair of the Class Vehicles’ CVT. The specific claims and parties you will be releasing
are described in full detail in Paragraphs 35, 36, 101, and 103 of the Settlement Agreement, available at
www._______________.com.

    10. What if I have a claim related to my transmission or the Warranty Extension in the future?

If, in the future, you have a claim for breach of the Warranty Extension related to your transmission, based entirely on
transmission performance issues, repairs or repair attempts, or any other conduct or events that occur after [Notice Date], that
claim is not released as a part of this Settlement. If you experience transmission problems after [Notice Date] and within the
Warranty Extension period, you must first present your vehicle to Nissan for repairs and request warranty coverage. If you
have a dispute with Nissan regarding application of the Warranty Extension or its repairs under the warranty, you must first
attempt to resolve the dispute through the BBB AUTO LINE dispute resolution program which is independently operated by
the council of Better Business Bureau, Inc. (“BBB”). No lawsuit may be filed before a decision by the BBB AUTO LINE.

                                                     How to Get a Benefit

    11. What do I need to do to get the benefits of this Settlement?

To remain a Class Member and obtain the Warranty Extension you do not have to do anything.

Class Members who believe they are eligible to receive reimbursement for transmission repair or replacement (described in
Questions 6-8) must fill out and send to the Settlement Administrator a Claim Form. The Claim Form may be obtained at
www.______________.com or by calling the Settlement Administrator at _____________. The completed Claim Form must
be sent to the Settlement Administrator by mail at the address below or via the settlement website by [insert 90 days after date
of this Notice] or within thirty (30) days after the date of the repair to your vehicle, whichever is later.

         Nissan CVT Litigation Settlement Administrator
         P.O. Box ________
         ________________

Upon receiving a Claim Form from a claimant, the Settlement Administrator will review the documentation and confirm or
deny the Class Member’s eligibility for reimbursement.

If you qualify for a $1,000 Voucher for purchase or lease of a single new Nissan or Infiniti vehicle, you will be notified by the
Settlement Administrator. To apply the Voucher, qualified individuals must visit an authorized Nissan or Infiniti dealer,
provide their name and government-issued ID, and exercise their Voucher within nine (9) months of the Effective Date of this
Settlement. The Voucher is not transferable but can be used in addition to all other types of valid discount offers, rebates and
incentives. No single Class Member is entitled to more than five (5) Vouchers regardless of the total number of Class Vehicles
purchased by that Class Member.


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If you believe you are eligible for both a $1,000 Voucher and reimbursement, you must elect on the Claim Form whether to
receive reimbursement or a Voucher. You may not receive both benefits.

                                        Your Rights – Getting Out of the Settlement

    12. Can I get out of the Settlement?

You can get out of the Settlement and the Class. This is called “excluding yourself” or “opting out.” If you exclude yourself
from the Settlement, you will not be entitled to receive the Settlement benefits. However, you will not be bound by any
judgment or settlement of this class action lawsuit and will keep your right to sue Nissan independently over any claims you
may have.

    13. How can I exclude myself from the Settlement?

To exclude yourself from the Settlement, you must mail the Settlement Administrator a Request for Exclusion that contains the
following information:

         (1) The name of the lawsuit: Teresa Stringer, et al. v. Nissan North America, Inc., Case No. 3:21-cv-00099;

         (2) Your full name, current address and telephone number;

         (3) Your vehicle year and model:

         (4) Your vehicle’s Vehicle Identification Number (VIN);

         (5) A clear statement of your intent to exclude yourself from the Settlement (for example, “Please exclude me from
             the Settlement); and

         (6) Your signature and the date you signed it.

You must send your Request for Exclusion postmarked no later than [insert date __ days from the Notice Date], 2021 to the
address below:

         Nissan CVT Litigation Settlement Administrator
         P.O. Box ________
         ________________

If you do not follow these procedures and the deadline to exclude yourself from the Settlement, you will remain a Class Member
and lose any opportunity to exclude yourself from the Settlement. This means that your rights will be determined in this lawsuit
by the Settlement Agreement if it receives final approval from the Court.

                                         Your Rights – Objecting to the Settlement

    14. Can I tell the court I do not like the Settlement?

If you do not exclude yourself from the Settlement Class, you can tell the Court you do not like the Settlement or some part of
it by filing an objection to the Settlement. If you object to the Settlement you remain a Class Member and cannot exclude
yourself.

    15. How can I object to the Settlement?

In order to object, you must mail a written objection and any supporting papers to: (1) the Court, (2) at least one of Co-Lead
Class Counsel, and (3) Nissan’s counsel. Your objection must contain the following:

         (1) The name of the lawsuit: Teresa Stringer, et al. v. Nissan North America, Inc., Case No. 3:21-cv-00099;

         (2) Your full name, current address and telephone number;



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         (3) Whether, as of the date of the written objection, you currently own or lease or whether you previously owned or
             leased a 2014-2018 model year Nissan Rogue, 2015-2018 model year Nissan Pathfinder or 2015-2018 model year
             Infiniti QX60 vehicle; the specific model year(s) and the approximate date(s) of purchase or lease (for example,
             “I currently own a 2014 Nissan Rogue that I purchased in January 2014.”);

         (4) The Vehicle Identification Number (VIN) of your vehicle(s);

         (5) Current odometer mileage of the vehicle(s) if currently owned or leased;

         (6) Specific reasons for your objection, including the factual and legal grounds for your position;

         (7) Whether the objection applies only to you, a specific subset of the Class, or to the entire Class;

         (8) A list of any other objections to any class action settlements you have submitted to any court, whether State,
             Federal, or otherwise, in the United States in the previous five (5) years;

         (9) Evidence and supporting papers, if any, that you want the Court to consider in support of your objection;

         (10) Whether you intend to appear at the Fairness Hearing, and whether you will be represented by separate counsel;
              and

         (11) Your signature and the date of your signature.

You must file your objection with the Court and mail separate copies to at least one of Co-Lead Class Counsel, and Nissan’s
counsel, by first-class United States Mail, no later than [insert date __ days from the Notice Date].

Your objection must be sent to the Court at the following address:

                  United States District Court for the Middle District of Tennessee, Nashville Division
                                  Teresa Stringer, et al. v. Nissan North America, Inc.
                                                 Case No. 3:21-cv-00099
                                                801 Broadway, Room ___
                                                  Nashville, TN 37203

The copies to be served on Co-Lead Class Counsel and Nissan’s counsel must be mailed to the following addresses:

         Co-Lead Class Counsel (send to at least one):
         Mark S. Greenstone
         GREENSTONE LAW APC
         1925 Century Park East, Suite 2100
         Los Angeles, CA 90067

         Marc L. Godino
         GLANCY PRONGAY & MURRAY LLP
         1925 Century Park East, Suite 2100
         Los Angeles, CA 90067

         J. Gerard Stranch, IV
         BRANSETTER, STRANCH & JENNINGS PLLC
         223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203

         Counsel for Nissan:

         E. Paul Cauley, Jr.
         FAEGRE DRINKER BIDDLE & REATH LLP
         1717 Main Street
         Suite 5400
         Dallas, Texas 75201


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If you timely file an objection, it will be considered by the Court at the Fairness Hearing. You do not need to attend the Fairness
Hearing in order for the Court to consider your objection. If you do not comply with these procedures and deadline for objection,
you will lose your opportunity to have your objection considered at the Fairness Hearing or otherwise contest the approval of
the Settlement or to appeal from any order or judgment entered by the Court in connection with the Settlement.

    16. What is the difference between excluding and objecting? Can I do both?

Excluding yourself means getting out of the Settlement altogether – you would not be entitled to receive any benefits pursuant
to the Settlement, but you will not be bound by the terms of the Settlement. Objecting means remaining in the Settlement, but
complaining about some part of it you do not like. You cannot do both.


                                           Your Rights – Appearing at the Hearing

    17. Can I appear at the Settlement hearing?

As long as you do not exclude yourself, you can (but do not have to) participate and speak for yourself in this lawsuit and
Settlement. This is called making an appearance. You can also have your own lawyer speak for you, but you will have to pay
for the lawyer yourself.

If you want to appear, or if you want your own lawyer instead of Class Counsel to speak for you in this lawsuit, you must file
a written notice with the Court and serve your notice of intent to appear on the attorneys listed above in Question 15. You must
state in that paper, “I intend to appear at the hearing.” The notice of intent to appear must be filed and served no later than
[insert date], 2021.

                                               The Lawyers Representing You

    18. Do I need to hire my own attorney?

You do not need to hire an attorney, but can if you want to. You, and the entire Class, are already represented by a group of
attorneys listed below, who are known as Co-Lead Class Counsel. You do not have to pay for Co-Lead Class Counsel’s
services. You may contact Co-Lead Class Counsel if you have any questions about this Notice or Settlement, but please do
not contact the Court.

         Co-Lead Class Counsel:
         Mark S. Greenstone                                     Marc L. Godino
         Email: mgreenstone@greenstonelaw.com                   Email: mgodino@glancylaw.com
         GREENSTONE LAW APC                                     GLANCY PRONGAY & MURRAY LLP
         1925 Century Park East, Suite 2100                     1925 Century Park East, Suite 2100
         Los Angeles, CA 90067                                  Los Angeles, CA 90067

         J. Gerard Stranch, IV
         BRANSETTER, STRANCH & JENNINGS
         PLLC
         223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203

If you decide to hire your own attorney, you will have to pay for his or her services. Your attorney must file an appearance
with the Court no later than [insert date of TBD prior to the Fairness Hearing], and serve a copy on Co-Lead Class Counsel
and Nissan’s counsel at the addresses provided above in Question 15, postmarked no later than [insert date TBD prior to the
Fairness Hearing].

    19. How much is Class Counsel being paid?

Co-Lead Class Counsel will apply to the Court for reasonable attorneys’ fees and expenses in a total amount up to
$6,250,000.00. Any award of attorneys’ fees and costs will be paid by Nissan separately from and in addition to any relief
provided to the Settlement Class. Additionally, Co-Lead Class Counsel will apply to the Court for payments of $5,000 each to

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the ten (10) Class Representatives for their service to the Class. Any award of payments to the Class Representatives will be
paid by Nissan separately from and in addition to any relief provided to the Settlement Class.


                                              Final Approval of the Settlement

    20. When will the Settlement become final?

The Court has preliminarily approved the Settlement provided for in the Settlement Agreement. The Settlement will not take
effect unless and until: (1) the Court approves the Settlement after the Final Approval Hearing and (a) a Final Order and
Judgment has been entered by the Court and the applicable period for the appeal of the Final Order and Judgment has expired
without any appeals having been filed, or (b) all such appeals have been dismissed; or (2) the appropriate Court of Appeals has
entered a final judgment affirming the Final Order and Judgment of the Court, which (a) is no longer subject to any further
appellate challenge, or (b) has been affirmed by the United States Supreme Court.

The Court has scheduled a Final Approval Hearing, to be held on __________ at _______ Eastern Time, to decide whether
certification of the Settlement Class is proper; whether the Settlement is fair, adequate, and reasonable; and whether the
Settlement should be finally approved. In addition, the Court will consider Co-Lead Class Counsel’s application for an award
of attorneys’ fees and reimbursement of expenses. The Court is located at the United States District Court for the Middle
District of Tennessee, Nashville Division, Estes Kefauver Federal Building & Courthouse, 801 Broadway, Room ____,
Nashville, Tennessee 37203. The Final Approval Hearing may be rescheduled to a later time without further notice. You may,
but do not have to, attend the Final Approval Hearing. If the Court grants final approval to the Settlement and the time to
appeal has expired, the Settlement will become final and benefits will be paid or available to the Class.

    21. What happens if the Settlement is not approved?

If the Court does not approve the Settlement, Class Members will not be entitled to receive the Settlement benefits described
in this Notice. It will be as if no Settlement had been reached and no class had been established.

                                                      If You Do Nothing

    22. What if I do not do anything?

If you do nothing, you will remain a Class Member. You will receive the Warranty Extension benefit of the Settlement
automatically, and if you are eligible, you will also receive the Voucher benefit, but any Reimbursement benefits for which
you may qualify can be obtained only by timely submitting a Claim Form. In return for these benefits, you will be bound by
the terms of the Settlement, which means you cannot bring a lawsuit against Defendant for the same claims at issue in this
lawsuit.

                                                      More Information

    23. Where can I get more information?

If you have additional questions regarding this Notice or the Settlement, or if you did not receive Notice in the mail and believe
that you may be a member of the Settlement Class, you should contact the Settlement Administrator’s dedicated website for
this case by visiting www._______________.com or calling ______________ for more information, or you may communicate
directly with Co-Lead Class Counsel by contacting the attorneys listed in Question 18.

This Notice, which has been approved by the Court, is only a summary of the Settlement. If you wish to obtain more detailed
information, you may review the Settlement Agreement, which contains the complete terms of the Settlement. The Settlement
Agreement, along with the pleadings, records and other papers regarding the lawsuit, are available on the Settlement
Administrator’s dedicated website for this case (www._______________.com) and are on file with the Court and available to
be inspected at any time during regular business hours at the Clerk’s office.

The Clerk of the Court is located at:

United States District Court

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Middle District of Tennessee
801 Broadway, Room 800
Nashville, TN 37203

Please do not contact the Court.



Date of Notice: __________________




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                         Exhibit D




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               LEGAL NOTICE                          Teresa Stringer, et al. v. Nissan North
                                                     America, Inc., Case No. 3:21-cv-00099
     A Federal Court authorized this notice.         Class Action Administrator
                                                     P.O. Box ________
Current or former owners or lessees of 2014-2018     ________________
 Nissan Rogue, 2015-2018 Nissan Pathfinder, or
2015-2018 Infiniti QX60 vehicles equipped with a
 Continuously Variable Transmission (“CVT”):         VIN: ___________________________
  Under a proposed class action settlement,
Nissan will extend the warranty on your CVT.
                                                     [Customer Name]
                                                     [Customer Address 1]
 You could also be eligible for reimbursement
 for prior CVT repairs or replacements under         [Customer Address 2]
      the extended warranty. Claims for
      reimbursement are subject to strict
                 timeframes.

   This notice is a summary only. Please read
this notice and then visit the settlement website
or call the number below for further important
        information about the settlement.




              1-_______________


           www._____________.com




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What is this? You have been sent this notice because records indicate that you purchased or leased a 2014-2018 Nissan Rogue, 2015-2018 Nissan
Pathfinder, or 2015-2018 Infiniti QX60 vehicle equipped with a “CVT” or Continuously Variable Transmission (the “Class Vehicles”). A Settlement
has been proposed in a class action lawsuit against Nissan North America, Inc. (“NNA”) regarding the CVT in the Class Vehicles.

What is this lawsuit about? Plaintiffs allege that the Class Vehicles have a defective CVT which can lead to poor transmission performance or
failure. NNA denies Plaintiffs’ claims, and believes the litigation is without merit. The settlement is not an admission by either side. The Court did
not rule in favor of either party. Instead, the parties agreed to a proposed Settlement to avoid the expense and risks of litigation. The Settlement is
subject to final approval by the Court.

Am I a Member of the Class? The proposed Settlement Class consists of those who purchased or leased Class Vehicles in the U.S. or its Territories.

What does the Settlement Provide?
   Warranty Extension: An extension by 24 months or 24,000 miles (whichever occurs first) of the New Vehicle Limited Warranty on your
      vehicle’s transmission. As part of the Warranty Extension, you may also be eligible for reimbursement of:
          o Repairs Made Within the Extended Warranty Period: Reimbursement for parts and labor you paid to repair or replace your
              vehicle’s transmission within the time and mileage limits of the Warranty Extension (limited to $5,000 for work done at non-
              Nissan/Infiniti repair shops). You must submit a claim form by [DATE] or within 30 days of the qualifying repair, whichever is later.
          o Dealer Recommended Repairs: If a Nissan or Infiniti dealer previously recommended repair or replacement of your vehicle’s
              transmission within the time and mileage limits of the Warranty Extension but your car was not repaired at that time, you may still be
              reimbursed so long as you had, or have, the recommended repair made no later than [DATE] or prior to 95,000 miles, whichever
              occurs first. You must submit a claim form by [DATE] or within 30 days of the qualifying repair, whichever is later.
   Vouchers for Certain Current and Former Owners: If you are a current or former owner of a Class Vehicle, you may receive a voucher
      of $1,000 towards the purchase or lease of a new Nissan or Infiniti, if you qualify. If you are also eligible for reimbursement of repair costs,
      you may elect either reimbursement or a voucher, but not both.
   Release for Nissan: Class Members will release all transmission-related claims against NNA and related parties, as explained more fully in
      the Long Form Notice and Settlement Agreement.

Class Counsel will ask the Court to award up to $6,250,000 in attorneys’ fees and expenses, and a service award of $5,000 for each class representative.

The Court will decide whether to approve the Settlement at the Fairness Hearing on [DATE] at [TIME]. You have the right to attend the Fairness
Hearing or you may appear through an attorney of your choice.

What Are My Options?

    1. Do Nothing: You will be in the Settlement Class, and you will automatically receive the Warranty Extension. If you are eligible for a
       Voucher, you will be notified. You will also be bound by the Settlement Agreement and any judgment in the case.



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   2. Submit a Claim Form: If you submit a Claim Form and otherwise qualify, you will also be reimbursed for qualifying transmission
      replacements or repairs made to your Class Vehicle.


   3. Object to the Settlement: You can file a written objection by [DATE] explaining what you do not like about the Settlement. Further details
      for objecting are contained on the settlement website.


   4. Exclude Yourself from the Settlement: You can opt out of the Settlement by submitting your request by [DATE]. You will no longer be a
      member of the Class and will receive no benefits under the Settlement, but will retain any claims you may have against NNA. Further details
      for requesting exclusion are contained on the settlement website.


This notice summarizes the Settlement. For important additional information including the full Long Form Notice, the Settlement Agreement and
Claim Form go to www._____________.com or call 800.xxx.xxxx.




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                         Exhibit E




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 TERESA STRINGER, KAREN BROOKS,                  Case No. 3:21-cv-00099
 WILLIAM PAPANIA, JAYNE NEWTON,
 MENACHEM LANDA, ANDREA                           CLASS ACTION
 ELIASON, BRANDON LANE, DEBBIE
 O’CONNOR, MICHELLE WILLIAMS and                  [PROPOSED] PRELIMINARY
 WAYNE BALNICKI, Individually and on              APPROVAL ORDER OF CLASS
 Behalf of All Others Similarly Situated,         ACTION SETTLEMENT

        Plaintiffs,
                                                  District Judge William L. Campbell
 v.                                               Courtroom A826
                                                  Magistrate Judge Barbara D. Holmes
  NISSAN NORTH AMERICA, INC., and                 Courtroom 764
  NISSAN MOTOR CO., LTD.
                                                  JURY TRIAL DEMANDED
         Defendants.


       WHEREAS, a putative class action lawsuit (the “Lawsuit”) is pending before this Court

where the Plaintiffs are Teresa Stringer, Karen Brooks, William Papania, Jayne Newton,

Menachem Landa, Andrea Eliason, Brandon Lane, Debbie O’Connor, Michelle Williams, and

Wayne Balnicki (“Plaintiffs”);

       WHEREAS, on _____, 2021, Plaintiffs filed an unopposed Motion for Preliminary

Approval of Class Action Settlement (“Motion for Preliminary Approval”) pursuant to Federal

Rule of Civil Procedure 23(e) which sets forth the terms and conditions of the Parties’ proposed

Settlement and finally resolves the Lawsuit;

       WHEREAS, the Court has read and considered the Motion for Preliminary Approval and

the papers filed in support thereof, including the Settlement Agreement and its attached exhibits,

and has considered the arguments of counsel for the Parties in this matter and, good cause

appearing,

       IT IS HEREBY ORDERED:




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                         PRELIMINARY CLASS SETTLEMENT
                       APPROVAL AND SETTLEMENT HEARING

       1.      Plaintiffs’ Motion for Preliminary Approval is GRANTED. This Order

incorporates by reference the definitions in the Settlement Agreement, and all terms herein shall

have the same meaning as set forth in the Settlement Agreement.

       2.      The Court preliminarily certifies the Settlement Class, for settlement purposes only,

consisting of two sub-classes. Subclass A shall be comprised of current and former owners and

lessees of 2014-2018 model year Nissan Rogue vehicles equipped with a continuously variable

transmission (“CVT”) who purchased or leased Class Vehicles in the United States or its territories

including Puerto Rico. Subclass B shall be comprised of current and former owners and lessees of

2015-2018 model year Nissan Pathfinder and 2015-2018 model year Infiniti QX60 vehicles

equipped with a CVT who purchased or leased Class Vehicles in the United States or its

Territories. Collectively, the current and former owners and lessees of Subclass A and Subclass

B vehicles shall be referred to as the “Settlement Class” and the vehicles of which they are

comprised shall be referred to as the “Class Vehicles.” Excluded from the Settlement Class are:

(1) NNA, any entity or division in which NNA has a controlling interest, its/their legal

representatives, officers, directors, assigns and successors; (2) any judge to whom this case is

assigned and the judge’s clerks and any member of the judge’s immediate family, and any judge

of the Sixth Circuit Court of Appeals; and (3) government purchasers and lessees.

       3.      The Court finds that, for settlement purposes only, the requirements of FED. R. CIV.

P. 23(a) and 23(b)(3) have been satisfied with regard to the Settlement Class. The Court finds that

this Class satisfies the numerosity requirement of Rule 23(a) for settlement purposes because it

consists of the past and present owners and lessees of approximately 1.9 million Class Vehicles.

The adequacy requirement of Rule 23(a) is likewise satisfied in the context of this proposed



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settlement, as the Plaintiffs are members of the Settlement Class, have no antagonistic interests or

conflicts, and have diligently pursued the alleged claims on behalf of the Class Members. Their

claims are typical of the Class within the meaning of Rule 23(a) because they have or had

ownership or leasehold interests in the Class Vehicles, all of which contain CVTs that Plaintiffs

allege are prone to the same defects giving rise to the Lawsuits. These common issues for the Class

as to the alleged defectiveness in design, manufacture and performance of these CVTs predominate

over any individual issues and render a class action superior to individual adjudication for purposes

of settlement certification.

       4.      The Court also finds that: the Parties have made an adequate showing at this stage

that the class action settlement set forth in the Settlement Agreement is substantively and

procedurally proper; the Class Representatives and Co-Lead Class Counsel have adequately

represented the Class in negotiating the Settlement; the Settlement is within the range of likely

final approval as fair, reasonable, and adequate for the Class; the Settlement is the product of

arm’s-length and informed negotiations and was negotiated with the assistance of a well-regarded

independent mediator; the Settlement provides adequate relief for the Class, taking into account

the cost, risks and delay of trial and appeal, the proposed methods of distribution, attorneys’ fees,

and its fair and equitable treatment of all Class Members relative to each other; and that the

Settlement is presumptively fair, reasonable and adequate, subject only to any objections that may

be raised at the Final Approval and Fairness Hearing (“Fairness Hearing”). The Court further finds

that the Parties conducted sufficient investigation and research, and their attorneys were able to

reasonably evaluate their respective positions. The terms of the Settlement Agreement are,

therefore, preliminarily approved, subject to further consideration at the Fairness Hearing.




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                                   NOTICE OF SETTLEMENT

       5.        Kurtzman Carson Consultants, LLC shall serve as Settlement Administrator. The

complete responsibilities of the Settlement Administrator are set forth in the Settlement

Agreement, including that the Settlement Administrator will obtain addresses for Class Members

from a qualified third party, such as IHS/R.L. Polk, that maintains databases related to the

automobile industry and which specializes in obtaining such information from, inter alia, the

Departments of Motor Vehicle of all fifty (50) States in the United States and its territories,

including Puerto Rico.

       6.        The Court finds that Notice to the Class is warranted, and has considered the Notice

provisions in the Settlement Agreement, the Notice methodology set forth in the Declaration of

______ (the “Notice Program”), and the Long Form Notice and Summary Notice, attached as

Exhibits C and D to the Settlement Agreement, respectively. The Court finds that the direct mailing

of Summary Notice in the manner set forth in the Notice Program combined with publication of

the Long Form Notice, the Settlement Agreement and its other exhibits, and this Order on the

Settlement Website is the best notice practicable under the circumstances; constitutes due and

sufficient notice of the Settlement and this Order to all persons entitled thereto, and is in full

compliance with the requirements of FED. R. CIV. P. 23(c), applicable law, and due process. The

Court approves as to form and content the Long Form Notice and Summary Notice in the forms

attached as Exhibits C and D to the Settlement Agreement, respectively. The Court orders the

Settlement Administrator to commence the Notice Program as soon as practicable following entry

of this Order.

       7.        Following the entry of this Order and prior to the mailing of Summary Notice to

the Class Members, the Parties are permitted by mutual agreement to make changes in the font,




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format and content of the Summary Notice and Long Form Notice provided that the changes do

not materially alter the substance of those notices. Any material substantive changes to those

notices must be approved by the Court.

       8.      The Settlement Administrator has agreed to prepare and provide the notices

pursuant to the Class Action Fairness Act of 2005, Pub. L. 109-2 (2005), 28 U.S.C. § 1715,

including, but not limited to, the notices to the United States Department of Justice and to the

Attorneys General of all states in which Class Members reside. The Settlement Administrator will

complete mailing of the Notice and, as provided in section 1715, the Notice shall be filed “not later

than 10 days after a proposed settlement of a class action is filed in court.” The Court finds that

this plan fully complies with 28 U.S.C. § 1715.

       9.      The Settlement Administrator shall be responsible for receipt of all written

communications from the Settlement Class and shall preserve the same and all other written

communications from Class Members or any other person in response to the Notices. The

Settlement Administrator shall provide such communications to Co-Lead Class Counsel, upon

request and to the extent necessary for counsel to respond to a request for assistance or inquiry to

them from a Class Member or potential Class Member related to the Settlement.

       10.     The Settlement Administrator will file with the Court and serve upon Co-Lead

Class Counsel and Defendant Nissan North America, Inc.’s (“NNA”) Counsel no later than forty-

six (46) days after the Notice Date a declaration attesting that Notice was disseminated in a manner

consistent with the terms of the Settlement Agreement and the Preliminary Approval Order.




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                   CLASS REPRESENTATIVES AND CLASS COUNSEL

       11.     The Court appoints the following individuals as representatives of the Settlement

Class: Teresa Stringer, Karen Brooks, William Papania, Jayne Newton, Menachem Landa, Andrea

Eliason, Brandon Lane, Debbie O’Connor, Michelle Williams, and Wayne Balnicki.

       12.     The Court appoints the following attorneys as Co-Lead Class Counsel: Mark S.

Greenstone, Greenstone Law APC, Marc L. Godino, Glancy, Prongay & Murray LLP, and J.

Gerard Stranch IV, Bransetter, Stranch & Jennings PLLC. In addition to Co-Lead Class Counsel,

the Court appoints the following attorneys as Executive Committee counsel: Stephen R. Basser,

Barrack, Rodos & Bacine, Lawrence Deutsch, Berger Montague PC, and Ryan McDevitt, Keller

Rohrback L.L.P. The Court finds that Co-Lead Class Counsel and Executive Committee Counsel

have demonstrable experience litigating, certifying, and settling class actions, and will adequately

represent the Settlement Class.

             REQUESTS FOR EXCLUSION FROM THE SETTLEMENT CLASS

       13.     Class Members may elect to exclude themselves from this Settlement, relinquishing

their rights to benefits under this Settlement Agreement. A Class Member wishing to exclude

himself/herself from the Settlement must send to the Settlement Administrator his or her own,

personally signed letter or request (or, where appropriate due to disability, incapacity or other

conditions, a signed letter or request from a Class Member’s conservator, custodian, or person with

applicable power of attorney along with documentation establishing such authority) including (i)

his/her name, (ii) address, (iii) telephone number, (iv) model and year of vehicle(s), (v) the VIN

number of the vehicle(s); and (vi) a clear statement communicating that he/she elects to be

excluded from the Settlement Class. Subject to the above conditions, a request signed only by a

representative or attorney for the Class Member is not valid. A single written letter or request for




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exclusion submitted on behalf of more than one Class Member will be deemed invalid; provided,

however, that an exclusion received from one Class Member will be deemed and construed as a

request for exclusion by all co-owners or co-lessees of the vehicle. Mass or class opt-outs shall

not be allowed. No Class Member shall be deemed opted-out of the Settlement Class through any

purported “mass” or “class” opt-outs.

       14.     Any request for exclusion must be postmarked no later than __ days after the Notice

Date. The date of the postmark on the return mailing envelope shall be the exclusive means used

to determine whether a request for exclusion has been timely submitted. Class Members who fail

to submit a valid and timely request for exclusion on or before the date specified in the Preliminary

Approval Order and Notice, shall be bound by all terms of the Settlement Agreement and the Final

Order and Judgment, regardless of whether they have filed a separate lawsuit or requested

exclusion from the Settlement. Any Class Member who submits a timely request for exclusion

may not file an Objection to the Settlement and shall be deemed to have waived any rights or

benefits under the Settlement.

       15.     Not later than seven (7) business days after the deadline for submission of requests

for exclusion, the Settlement Administrator shall provide to Co-Lead Class Counsel and NNA’s

Counsel a complete exclusion list together with copies of the exclusion requests. A list of the

names of the Class Members requesting exclusion will be filed with the Court by the Settlement

Administrator not later than five (5) days prior to the Fairness Hearing Date.

       16.     All Class Members that have not submitted a timely and valid written request for

exclusion from the Settlement Class will be bound by the Releases in the Settlement Agreement

and other terms and conditions set forth herein and all proceedings, orders and judgments in this




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Lawsuit. Class Members may exclude themselves from the Settlement or object to the Settlement,

but they may not do both.

                             OBJECTIONS BY CLASS MEMBERS

        17.     In order to object to the approval of the Settlement Agreement, a Class Member

must serve at least one Co-Lead Class Counsel and NNA’s counsel by mail at the addresses listed

below and must file the Objection with the Court, which Objection must be filed and copies

postmarked no later than __ days after the Notice Date. To state a valid Objection to the Settlement,

a Class Member making an Objection must provide the following information in his or her written

Objection: (i) the Class Member’s full name and current address; (ii) the model year and make of

his or her vehicle(s) and approximate date(s) of purchase; (iii) whether the Class Member still

owns the vehicle(s); (iv) the VIN number of the vehicle(s); (v) current odometer mileage of the

vehicle(s) currently owned; (vi) a specific statement of the Class Member’s reasons for objecting

to the Settlement, including the factual and legal grounds for his or her position; (vii) whether the

objection applies only to the objector, to a specific subset of the class, or to the entire class, (viii)

a list of any other objections to any class action settlements submitted to any court, whether State,

Federal, or otherwise, in the United States in the previous five (5) years; (ix) whether the Class

Member intends to appear at the Fairness Hearing and whether the Class Member will be

represented by separate counsel; and (x) the Class Member’s signature with the date of signature.

        18.     Objections must be served:

        Upon NNA’s Counsel at:

        E. Paul Cauley, Jr.
        FAEGRE DRINKER BIDDLE & REATH LLP
        1717 Main Street, Suite 5400
        Dallas, TX 75201




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       Upon one or more Co-Lead Class Counsel at:

       Mark S. Greenstone                             Marc L. Godino
       GREENSTONE LAW APC                             GLANCY PRONGAY & MURRAY LLP
       1925 Century Park East, Suite 2100             1925 Century Park East, Suite 2100
       Los Angeles, CA 90067                          Los Angeles, CA 90067


                                                      J. Gerard Stranch, IVBRANSETTER,
                                                      STRANCH & JENNINGS PLLC223
                                                      Rosa L. Parks Avenue, Suite
                                                      200Nashville, TN 37203

       19.     Any Class Member who does not make an Objection in the manner provided above

shall be deemed to have waived such Objection and shall forever be foreclosed from making any

Objection to the fairness, reasonableness or adequacy of the proposed Settlement or the Final Order

and Judgment to be entered approving the Settlement. Any Class Member who wishes to speak at

the Fairness Hearing must follow the procedures outlined in the Long Form Notice posted on the

Settlement Website.

       20.     No Class Member shall be entitled to be heard at the Fairness Hearing (whether

individually or through separate counsel) unless written notice of the Class Member’s intention to

appear at the Fairness Hearing and copies of any written Objections and briefs have been filed

with the Court and served on NNA’s Counsel and one or more Co-Lead Class Counsel on or before

the date specified in the Notice.

                                    FAIRNESS HEARING

       21.     The Court will hold a Fairness Hearing on ___________ 2022, at ____ a.m./p.m.

in Courtroom ______ of the United States District Court for the Middle District of Tennessee,

Nashville Division, Estes Kefauver Federal Building & Courthouse, 801 Broadway, Nashville,

Tennessee 37203. The Court will determine whether the proposed Settlement Agreement is fair,

reasonable, and adequate and should be granted final approval, whether certification of a



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nationwide settlement class is appropriate, and whether Co-Lead Class Counsel’s application for

an award of Attorneys’ Fees, Costs, Expenses and Class Representative Service Awards should be

granted.

       22.     Papers by counsel in connection with the Settlement shall be filed as follows: no

later than __ days after the Notice Date, Co-Lead Class Counsel will file briefing regarding Final

Approval of the Settlement and Certification of the Settlement Class, and Award of Attorneys’

Fees, Costs, Expenses, and Representative Service Awards requesting that the Court enter the Final

Order and Judgment in substantially the same form attached as Exhibit F to the Settlement

Agreement, which will, among other things, dismiss this case, with prejudice as to NNA, subject

to the continuing jurisdiction of the Court; approve the Settlement, certify the Settlement Class

and render an award of attorneys’ fees, expenses, costs and service awards. NNA may, at its

discretion, submit such briefing as it deems necessary to support the motion for final approval,

clarify its positions, and otherwise protect its interests. Such briefing by NNA will be due no later

than ten (10) days before the date set by the Court for the Fairness Hearing. Co-Lead Class Counsel

and NNA’s Counsel shall also be entitled to file responses to any Objections which may have been

filed, which responses shall be filed fourteen (14) days prior to the date set by the Court for the

Fairness Hearing. Any reply briefs by NNA or Co-Lead Class Counsel to the other’s filings shall

be due no later than three (3) days before the Fairness Hearing.

                                PRELIMINARY INJUNCTION

       23.     The Court hereby finds that it is appropriate to enter a preliminary injunction

enjoining all Class Members from instituting, maintaining, or prosecuting any action other than

this lawsuit asserting any claims on a class action basis that would be Released Claims under the

terms of the Settlement Agreement; and unless such Class Members first submit a valid and timely




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written request to be excluded from the Settlement Class, from instituting, maintaining, or

prosecuting any separate actions asserting individual claims that would be Released Claims under

the terms of the Settlement Agreement. Pursuant to 28 USC §§ 1651(a) and 2283 and Federal

Rule of Civil Procedure 23(d), the Court finds that issuance of a preliminary injunction is necessary

and appropriate in aid of the Court’s continuing jurisdiction and authority over the settlement of

claims originally brought in multiple lawsuits and now before this Court, to preserve its ability and

jurisdiction to consider and fully effectuate the Settlement, and in order to prevent the potential for

inconsistent orders, confusion, and disruption that would be caused by the simultaneous litigation

of other putative class actions involving any allegations or causes of action asserted in any other

lawsuits during the Court’s consideration of the Settlement.

       24.     Accordingly, in order to preserve the Court’s jurisdiction pending consideration of

whether final approval should be given to the Settlement, and to avoid irreparable harm to the

settlement process, and after balancing the equities and concluding that the Settlement Agreement

is sufficiently fair, reasonable, and adequate such that it merits preliminary approval and should

be protected from collateral attack during the notice and final approval process, the Court hereby

preliminary bars and enjoins all Class Members from:

               (a)     instituting, maintaining, prosecuting, intervening in, participating as a party

       or class member in, or otherwise pursuing or receiving any benefits from any other action

       other than this Lawsuit asserting any claims that would be Released Claims under the terms

       of the Settlement Agreement, unless they first exclude themselves from the Settlement

       Class in accordance with the terms of this Order; and

               (b)     filing, commencing, maintaining, or prosecuting any lawsuit asserting

       claims within the scope of the proposed Release set forth in the Settlement Agreement as




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       a class action, as a separate class, or as a representative action for purposes of pursuing

       (including by seeking to amend a pending complaint to include class allegations or by

       seeking class certification in a pending action in any jurisdiction) on behalf of any other

       Class Members any of the claims within the scope of the proposed Release contained in

       the Settlement, whether or not they have excluded themselves from the Settlement Class.

                                       TERMINATION

       25.     If the Court declines to enter a Final Order and Judgment in substantially the same

form attached as Exhibit F to the Settlement Agreement, or the Final Order and Judgment does not

for any reason become final, the Parties will be returned to the same position as existed on ____,

and as if the Settlement Agreement had not been negotiated, made or filed with the Court. Should

this occur: (a) the Parties shall move the Court to vacate any and all orders entered by the Court

pursuant to the provisions of the Settlement Agreement; and (b) neither the Settlement Agreement,

nor any documents filed, submitted, or published pursuant to the Settlement Agreement may be

used in any litigation (except to enforce the provisions of the Settlement Agreement) and nothing

contained in any documents shall impact any legal proceedings.

       26.     This Order shall be of no further force or effect if the Settlement does not become

final and shall not be construed or used as an admission, concession, or declaration by or against

the Parties or members of the Settlement Class of the validity of any claim or counterclaim or any

actual or potential fault, wrongdoing, or liability whatsoever, or by or against the Parties or

members of the Settlement Class, that their claims or counterclaims lack merit or that the relief




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requested in the Complaint or any counterclaims are inappropriate, improper, or unavailable, or as

a waiver by any Party of any defense or claims it or they may have.

                     POWERS AND JURISDICTION OF THE COURT

       27.     The Court expressly reserves its right to change the date of the Fairness Hearing or

any further adjournment thereof, and to approve the Settlement Agreement, including any

modifications thereto which are acceptable to the Parties, without further notice to Class Members.

Any new date shall be posted on the Settlement Website. The Parties shall be permitted to make

any non-substantive corrections or changes to the Notices to the Class and other Settlement

documents without seeking further approval of the Court.

       28.     Pending Final Approval of the Settlement, the Parties to the Settlement Agreement

are directed to carry out their obligations under the terms thereof.

       IT IS SO ORDERED.




Dated: _________________________                      ____________________________________
                                                      The Honorable William L. Campbell
                                                      United States District Court Judge




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                         Exhibit F




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

    TERESA STRINGER, KAREN BROOKS,                   Case No. 3:21-cv-00099
    WILLIAM PAPANIA, JAYNE NEWTON,
    MENACHEM LANDA, ANDREA                           CLASS ACTION
    ELIASON, BRANDON LANE, DEBBIE
    O’CONNOR, MICHELLE WILLIAMS and                  [PROPOSED] ORDER AND JUDGMENT
    WAYNE BALNICKI, Individually and on              GRANTING FINAL APPROVAL OF
    Behalf of All Others Similarly Situated,         CLASS ACTION SETTLEMENT AND
                                                     AWARD OF ATTORNEYS’ FEES, COSTS,
          Plaintiffs,                                EXPENSES AND REPRESENTATIVE
                                                     SERVICE AWARDS
    v.

     NISSAN NORTH AMERICA, INC., and                 District Judge William L. Campbell
     NISSAN MOTOR CO. LTD.                           Courtroom A826
                                                     Magistrate Judge Barbara D. Holmes
           Defendants.                               Courtroom 764



         Having considered Plaintiffs’ Motion for Final Approval of Class Action Settlement and

supporting Memorandum of Law, and Plaintiffs’ Motion for Award of Attorneys’ Fees,

Reimbursement of Expenses, and Service Awards for Class Representatives and supporting

Memorandum of Law (collectively, the “Briefing on Final Approval, Attorneys’ Fees, and

Expenses”) filed by Plaintiffs Teresa Stringer, Karen Brooks, William Papania, Jayne Newton,

Menachem Landa, Andrea Eliason, Brandon Lane, Debbie O’Connor, Michelle Williams, and

Wayne        Balnicki     (“Plaintiffs”);   having     considered    that,    by   order     dated

_______________________, 2021, this Court granted preliminary approval of the proposed

Settlement Agreement1 in this case, preliminarily certified a Settlement Class, and approved notice

to that Class; and having held a Fairness Hearing on __________________, 2022, and having




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       This Order incorporates by reference the definitions in the Settlement Agreement, and all
terms herein shall have the same meaning as set forth in the Settlement Agreement.


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considered all of the objections, submissions and arguments with respect to the proposed

Settlement;

       THE COURT HEREBY FINDS AS FOLLOWS:

       1.      The Court confirms its previous preliminary findings in the Preliminary Approval

Order and finds that the settlement of the present action (the “Lawsuit”) satisfies the applicable

prerequisites for class action treatment under FED. R. CIV. P. 23(a) and 23(b)(3). Specifically, the

Court finds that the Settlement Class, as defined in Paragraph 38 of the Settlement Agreement and

also defined below, is so numerous that joinder of all members is not practicable, that questions of

law and fact are common to the Settlement Class, that the claims of the Plaintiffs are typical of the

claims of the Settlement Class, that the Plaintiffs and Class Counsel have and will fairly and

adequately protect the interests of the Settlement Class without conflict of interest, that questions

of law and fact common to the members of the Settlement Class predominate, for settlement

purposes, over any questions affecting only individual members, including the common questions

regarding the reliability, design and performance of the type of Continuously Variable

Transmission (“CVT” or “transmission”) in the Class Vehicles at issue; and that a class action is

superior to other available methods for the fair and efficient adjudication of the controversy, at

least for purposes of settlement.

       2.      Notice to the Settlement Class as required by Rule 23(e) of the Federal Rules of

Civil Procedure has been provided in accordance with the Court’s Preliminary Approval Order,

and Summary Notice by first-class mail was given in an adequate and sufficient manner. This,

coupled with all of the additional information contained on the Settlement Website, to which Class

Members were directed by the Summary Notice, constitutes the best notice practicable under the

circumstances, and satisfies all requirements of Rule 23(e) and due process.




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       3.      In full accordance with the requirements of the Class Action Fairness Act of 2005,

28 U.S.C. § 1715, the Settlement Administrator caused to be mailed a copy of the proposed

Settlement and all other documents required by said law to the Attorney General of the United

States and the Attorneys General in each of the jurisdictions where Class Members reside. None

of the Attorneys General filed objections to the Settlement. The Court finds and confirms that 28

U.S.C. § 1715 has been fully satisfied and that the Settlement is therefore entitled to binding effect

as to all members of the Settlement Class who did not timely and validly opt out.

       4.      The Court has considered all relevant factors for determining the fairness of the

Settlement and has concluded that all such factors weigh in favor of granting final approval. The

Settlement was a result of arm’s-length negotiation by experienced counsel with an understanding

of the strengths and weaknesses of their respective cases. Negotiation occurred with the benefits

of adequate investigation, discovery, and due diligence, and with the assistance of a well-respected

independent mediator. Among the factors that counsel considered in negotiating the Settlement are

those set forth in the Briefing on Final Approval, Attorneys’ Fees, and Expenses. As part of the

Lawsuit, Co-Lead Class Counsel have conducted a detailed investigation of the facts and analyzed

the relevant legal issues. Although the Plaintiffs and Co-Lead Class Counsel believe that the claims

asserted in the Amended Consolidated Class Action Complaint have merit, they also have

reasonably and adequately examined the benefits to be obtained under the Settlement compared to

the costs, risks, and delays associated with the continued litigation of these claims.

       5.      The Court finds that the Settlement is fair, reasonable, and adequate, particularly in

light of the complexity, expense, and likely duration of continued litigation and the risks involved

in establishing liability and damages and in maintaining class action status through trial and appeal.




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       6.      The benefits to the Settlement Class constitute fair value given in exchange for the

release of the claims of the Settlement Class. The Court finds that the consideration to be provided

under the Settlement is reasonable in type and scope considering the facts and circumstances of

this case, the types of claims and defenses asserted in the Lawsuit, the claims to be released, and

the risks associated with the continued litigation of these claims.

       7.      The Court finds that in all respects, the Settlement treats Class Members equitably

in relation to each other, and that the method of distribution of relief is fair, appropriate and

efficient. Those benefits that reasonably can be extended automatically (the warranty extension

on Class Vehicles and Vouchers for certain current and former owners not claiming

reimbursement) are extended automatically. A Claim Form is required only for reimbursements,

which is justified since Nissan otherwise would not have all of the information necessary to

determine the amount of and entitlement to the reimbursement. The method of processing those

Claim Forms is likewise fair, reasonable and adequate. Finally, there are no side agreements.

       8.      The Parties and Class Members have irrevocably submitted to the exclusive

jurisdiction of this Court for any suit, action, proceeding or dispute arising out of the Settlement.

       9.      It is necessary to protect this Court’s jurisdiction and ability to enforce this

judgment, and also in the best interest of the Parties and the Class Members and consistent with

principles of comity, judicial economy and the strong federal policy favoring settlement, that any

dispute between any Class Member (including any dispute as to whether any person is a Class

Member) and any Released Party which in any way relates to the applicability or scope of the

Settlement, or this Final Judgment and Order of Dismissal, should be presented exclusively to this

Court for resolution by this Court.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:




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       10.     The Court certifies a Settlement Class, for settlement purposes only, consisting of

the following: All current and former owners and lessees who purchased or leased a Class Vehicle

in the United States and its territories including Puerto Rico. Excluded from the Settlement Class

are: (1) Nissan North America, Inc. (“NNA”), any entity or division in which NNA has a

controlling interest, its/their legal representatives, officers, directors, assigns and successors; (2)

any judge to whom this case is assigned and the judge’s clerks and any member of the judge’s

immediate family, and the Sixth Circuit Court of Appeals; and (3) government purchasers and

lessees.

       11.     The Settlement Agreement submitted by the Parties is finally approved pursuant to

FED. R. CIV. P. 23(e) as being fair, reasonable, adequate, and in the best interests of the Settlement

Class. It shall be binding on Plaintiffs, Defendant, and all members of the Settlement Class who

did not timely and validly opt out. The Parties are directed to perform all obligations under the

Settlement Agreement in accordance with its terms.

       12.     The Lawsuit is hereby dismissed with prejudice and without costs. This Judgment

has been entered without any admission by any Party as to the merits of any allegation by any

Party in the Lawsuit and shall not constitute a finding of either fact or law as to the merits of any

claim or defense asserted in the Lawsuit.

       13.     The Released Claims are hereby finally compromised, settled, released, discharged,

and dismissed with prejudice against the Released Parties by virtue of the proceedings herein and

this Final Judgment and Order of Dismissal.

       14.     All Class Members were given a full and fair opportunity to participate in the Final

Approval Hearing, and all Class Members wishing to be heard have been heard. Class Members

also have had a full and fair opportunity to opt out from the proposed Settlement and the Class.




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Accordingly, the terms of the Settlement Agreement and of the Court’s Order and Judgment shall

be forever binding on all Class Members who did not timely opt out of the Settlement. These Class

Members have released and forever discharged NNA and all Released Parties from any and all

Released Claims.

       15.     Members of the Settlement Class and their successors and assigns are hereby

permanently barred and enjoined from asserting, commencing, prosecuting or continuing to

prosecute, either directly or indirectly, any Released Claim against any of the Released Parties in

any forum, with the exception of any former Class Members who have duly opted out of the

Settlement Class.

       16.     The named Plaintiffs are suitable class representatives and their appointment as

representatives for the Settlement Class is hereby re-confirmed. The Court approves an award of

$5,000 to each of Plaintiffs Teresa Stringer, Karen Brooks, William Papania, Jayne Newton,

Menachem Landa, Andrea Eliason, Brandon Lane, Debbie O’Connor, Michelle Williams, and

Wayne Balnicki as a reasonable payment for his or her efforts, expenses and risks as Plaintiffs in

bringing the Lawsuit, which shall be paid by NNA as provided in the Settlement.

       17.     Based upon the evidence submitted, the Court confirms its appointment as Co-Lead

Class Counsel of Mark S. Greenstone, Greenstone Law APC, Marc L. Godino, Glancy, Prongay

& Murray LLP, and J. Gerard Stranch, IV, Bransetter, Stranch & Jennings PLLC. In addition to

Co-Lead Class Counsel, the Court confirms its appointment as Executive Committee Counsel of

Stephen R. Basser, Barrack, Rodos & Bacine, Lawrence Deutsch, Berger Montague PC, and Ryan

McDevitt, Keller Rohrback L.L.P. The Court finds that these attorneys possess the requisite

knowledge, experience, and skills to advance the interests of the Settlement Class. The Court

approves an award of $________________ as reasonable payment for Attorneys’ Fees, Costs and




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Expenses, which shall be paid by NNA and distributed by Co-Lead Class Counsel as provided in

the Settlement Agreement.

       18.     Without affecting the finality of this judgment, the Court’s retained jurisdiction of

this Settlement also includes the administration and consummation of the Settlement. In addition,

without affecting the finality of this judgment, the Court retains exclusive jurisdiction of, and the

Parties and all Class Members are hereby deemed to have submitted irrevocably to the exclusive

jurisdiction of this Court for, any suit, action, proceeding or dispute arising out of or relating to

this Order and the Settlement Agreement, or the applicability of the Settlement Agreement.

Without limiting the generality of the foregoing, any dispute concerning the Settlement

Agreement, including, but not limited to, any suit, action, arbitration or other proceeding by a Class

Member in which the provisions of the Settlement Agreement are asserted as a defense in whole

or in part to any claim or cause of action or otherwise raised as an objection, shall constitute a suit,

action or proceeding arising out of or relating to this Order. Solely for purposes of such suit, action

or proceeding, to the fullest extent possible under applicable law, the Parties hereto and all persons

within the definition of the Settlement Class are hereby deemed to have irrevocably waived and

agreed not to assert, by way of motion, as a defense or otherwise, any claim or objection that they

are not subject to the jurisdiction of this Court, or that this Court is, in any way, an improper venue

or an inconvenient forum.

       19.     All Objections filed are hereby overruled and denied for the reasons stated on the

record at the fairness hearing.

       20.     Exhibit A lists the name and last six digits of the applicable VIN of each timely and

valid opt out as determined by the Settlement Administrator. The Court agrees with and adopts the




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findings of the Settlement Administrator as to the validity of opt outs. Any other opt outs are

hereby ruled invalid and ineffective.

       21.     The Court finds that no just reason exists for delay in entering this Final Judgment

and Order of Dismissal. Accordingly, the Clerk is hereby directed to enter this Final Judgment.

       IT IS SO ORDERED.




Dated: _________________________                     ____________________________________
                                                     The Honorable William L. Campbell

                                                     United States District Court Judge




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